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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



                                                   )
JOHN DOE,                                          )
                                                   )
       Plaintiff                                   )
                                                   )
vs.                                                )
                                                   )   Case No. ____
STONEHILL COLLEGE, INC.,                           )
                                                   )
       Defendant                                   )
                                                   )

                                          COMPLAINT

       Plaintiff, John Doe, for his Complaint against Defendant, Stonehill College, Inc.

(“Stonehill”), alleges and states the following:

I.     STATEMENT OF THE CASE


       The mission statement of Stonehill College states that “Stonehill College, a Catholic

institution of higher learning founded by the Congregation of Holy Cross, is a community of

scholarship and faith, anchored by a belief in the inherent dignity of each person. Through its

curriculum of liberal arts and sciences and pre-professional programs, Stonehill College provides

an education of the highest caliber that fosters critical thinking, free inquiry and the interchange

of ideas. Stonehill College educates the whole person so that each Stonehill graduate thinks,

acts, and leads with courage toward the creation of a more just and compassionate world.”


       John Doe learned first-hand that this was a false and misleading mission statement. John

Doe learned that this was a misrepresentation on the part of Stonehill when he became a

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respondent in a Title IX investigation as a student at Stonehill. As a result of the allegations of

Jane Roe, John Doe was subjected to a biased, unfair investigative and adjudicatory process

which was void of due process, impartiality and a presumption of guilt was assumed. In

addition, John Doe had no opportunity for a hearing, or to confront his accuser in a hearing, or

through written questions. As a result of this unlawful investigation and adjudication of alleged

sexual misconduct, John Doe was wrongfully expelled from Stonehill.        That is how John Doe

learned that there was no courage on the part of Stonehill College to conduct a fair and impartial

investigation and adjudication in connection with alleged sexual misconduct, and there certainly

was no justice or compassion exhibited by Stonehill College, its investigators or administrators.


       In fact, Stonehill College has been the subject of multiple investigations by the

Department of Education as a direct result of failing to follow its contractual duties in the

investigation and adjudication of gender based discrimination and sexual misconduct allegations.

Consequently, during the same time that Stonehill College was investigating the allegations

lodged against John Doe for alleged violation of Stonehill College’s Policy S1.14 Opposition to

Sexual and Gender-Based Misconduct and Interpersonal Violence, the Department of Education

was breathing down the neck of Stonehill College for its failure to follow Department of

Education guidelines relating to Title IX, 20 U.S.C. § 1681, et seq.


       Notably, just weeks prior to Jane Roe’s allegation of sexual misconduct against John

Doe, the #METOO movement took hold across the nation. Clearly this movement struck a chord

with the accuser, Jane Roe, because on October 20, 2017, she updated her status on her Facebook

page in support of #METOO. Then, upon information and belief, it is at this time that Jane Roe,

made an allegation of sexual misconduct against another male student at Stonehill College.
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       According to Jane Roe, in her intimate discussions with John Doe, she explained that the

student whom she accused of sexual misconduct was still on campus, and Stonehill College did

not punish him. Within one month of Jane Roe’s accusation against another male student at

Stonehill College, and after multiple intimate interactions with John Doe of the same nature and

scope, Jane Roe made the allegation against John Doe. Jane Roe’s allegation was a written

statement she prepared because she allegedly did not want to be interviewed by the Title IX

Coordinator. Jane Roe’s written statement falsely claimed that she and John Doe were “surface”

friends and did not have any pre-existing intimacy of the nature and scope alleged in her

complaint.


       Due to the pressure of the Department of Education, and the need to obtain a finding of

responsibility on the part of the accused, Stonehill College breached its contractual and ethical

obligations to John Doe by finding him responsible and imposing the harshest sanction of

expulsion. John Doe now seeks injunctive relief and damages against Stonehill.


II.    THE PARTIES AND PSEUDONYMS

1.     Plaintiff, John Doe, is a natural person and a resident of the Town of Orono, County of

Penobscot, State of Maine.

2.     John Doe is not Plaintiff’s legal name.      Due to the nature of the charges Stonehill

brought against John Doe, and Stonehill’s subsequent finding that John Doe was “responsible”

for the alleged conduct charged, John Doe’s reputation has been severely damaged and the

finding has significantly delayed his ability to obtain an undergraduate degree. Therefore, John

Doe is proceeding under a pseudonym to avoid further damage to his reputation and future



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prospects beyond the damage that Stonehill has already inflicted, and which Stonehill continues

to inflict.

3.      The Complaint also identifies the person who filed the sexual misconduct complaint

against John Doe with Stonehill, as “Jane Roe.”           Jane Roe is not the true name of the

complainant.       Jane Roe is also not, at present, a party to this Complaint.   She is referred to

herein as “Jane Roe” in order to protect her reputation until such time as this Court may

determine that such protection is no longer required or warranted.

4.      Defendant, Stonehill College, Inc., is a non-profit institution located in and organized

under the laws of the Commonwealth of Massachusetts for the purpose, inter alia, of providing

educational services.      Stonehill is located in the Town of Easton, County of Bristol,

Commonwealth of Massachusetts.

III.    VENUE

5.      Venue is proper in this Court pursuant to 28 USC § 1391(1) inasmuch as Defendant,

Stonehill, is located in Easton, Massachusetts and a substantial part of the acts and omissions

giving rise to Plaintiff’s claims occurred in the District of Massachusetts.

IV.     JURISDICTION

6.      This Court has original jurisdiction over John Doe’s claims pursuant to 28 USC §

1332(a)(1) based on the diversity of citizenship between John Doe, a resident of Maine, and

Stonehill College, a legal entity organized under the laws of the Commonwealth of

Massachusetts and located in Easton, Massachusetts, and on the grounds that the amount in

controversy exceeds the sum or value of $75,000.

7.      This Court also has jurisdiction over John Doe’s claims pursuant to 28 USC § 1331 in

that certain of John Doe’s claims allege that Stonehill engaged in unlawful sex discrimination
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against John Doe in violation of 20 USC §1681, et seq., also known as Title IX of the Education

Amendments Act of 1972 (hereinafter “Title IX”) and has supplemental jurisdiction pursuant to

28 USC § 1367 over John Doe’s claims arising under the laws of Massachusetts.

V.      STATEMENT OF FACTS

        A. STONEHILL MISSION/JOHN DOE ENROLLMENT

8.      Stonehill was founded in 1948 by the Congregation of Holy Cross and its educational

mission is guided by the Roman Catholic Church and it represents itself as developing students

who will become “global citizens who value knowledge, integrity, and, compassion while they

seek a more just society.”

9.      Stonehill represents to the public and to prospective students, that “[t]he presence of

Catholic intellectual and moral ideals places [Stonehill] in a long tradition of free inquiry, the

engagement with transcendent theological and philosophical ideals and values, the recognition of

the inherent dignity of each person, and the sense of obligation to commit oneself to moral ends.”

10.     John Doe had long planned to attend college and viewed a college degree as essential to

realizing his professional and personal aspirations.

11.     In his junior year in high school, John Doe applied to several colleges including

Stonehill.    He applied to Stonehill because he believed Stonehill would challenge him

intellectually and academically. He also believed Stonehill’s religious traditions, in particular,

its adherence to the spiritual ethic of the Congregation of Holy Cross, would welcome and

encourage his personal religious beliefs.

12.     John Doe also believed that the athletic program at Stonehill would allow him to continue

his participation in athletics, which he had pursued throughout high school, including, in

particular, his participation in football.
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13.     John Doe recognized that, if Stonehill accepted him, his attendance at Stonehill would

impose significant financial burdens on him because neither John Doe individually, nor John

Doe’s family, had the ability to pay Stonehill’s annual tuition of $59,430.00 without taking out

substantial loans. Because John Doe believed Stonehill’s representation that it was committed

to its mission, principles, and, to each student, he believed a Stonehill education would be worth

the significant financial burden on him.

14.     In the spring of 2017, Stonehill advised John Doe that he had met Stonehill’s admission

requirements and had been admitted into the Class of 2021, with classes to begin in September of

2017.

15.     John Doe obtained loans in the total amount of $33,251.00 to pay for Stonehill for his

education for the 2017-2018 Academic Year.

16.     Stonehill knew that John Doe had assumed significant financial obligations to attend

Stonehill during the 2017-2018 academic year.

17.     John Doe arrived at the Stonehill campus on August 7, 2017. He arrived early because

he had joined the Stonehill football team. John Doe attended practices and team meetings from

shortly after his arrival until shortly after Jane Roe made the allegations against him. John Doe

could not handle the pressures of defending the accusations against him, attending practices and

preparing for semester exams, so he chose to quit the football team.

18.     On September 5, John Doe began taking classes at Stonehill. He had a full course load

of sixteen (16) credit hours. He had tentatively decided to major in biochemistry. He intended

to attain his undergraduate degree in four years and graduate in the Spring Semester of 2021. To

that end, John Doe had enrolled in eighteen (18) credit hours for the Spring 2018 semester.



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Upon graduation, he intended to find a job and begin his professional career in the bioscience

field.

19.      Throughout the Fall 2017 Semester, John Doe conscientiously attended classes for each

of his courses, kept up with his studies, and, met deadlines for his coursework.

20.      The schedule the football team demanded was rigorous with practices nearly every day

and games each Saturday.      This schedule continued through the last game on November 11.

Even after the last game of the season, the football team continued to hold meetings and require

that team members adhere to a workout schedule.

         B.      INTRODUCTION TO JANE ROE

                 1.     Relationship between John Doe and Jane Roe

21.      In May or June of 2017, John Doe joined a Stonehill Facebook group for the Class of

2021.    Jane Roe was a member of the Stonehill Class of 2021 FaceBook Group (“FaceBook

Group”). During the summer of 2017, Jane Roe reached out to John Doe through the FaceBook

Group.        Thereafter, Jane Roe and John Doe began to communicate through the FaceBook

Group, Snapchat and text message.

22.      In one of her early messages, Jane Roe told John Doe that she had recently broken up

with her boyfriend.

                        a.    Initial Social Interaction

23.      Stonehill assigned John Doe to Corr Hall as his dormitory and assigned Jane Roe to

O’Hara Hall as her dormitory.

24.      Shortly after John Doe arrived at Stonehill, a mutual female friend, also a member of the

Class of 2021, introduced Jane Roe to John Doe.



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25.      Over time, John Doe and Jane Roe saw a lot of each other and John Doe believed that

they were friends.

26.      They often communicated through social media, including Facebook and Instagram, but

most frequently they used Snapchat.

27.      As John Doe got to know Jane Roe better, he found that she lacked self-confidence and

frequently told him that she was afraid and felt vulnerable.          John Doe tried to give Jane Roe

moral support and help her build up her self-esteem by complimenting her and encouraging her.

28.      Jane Roe also told John Doe that she was fearful of walking the Stonehill campus at

night.        John Doe often offered to walk Jane Roe to her dormitory if she was feeling

apprehensive. At times, Jane Roe would accept John Doe’s invitation, and on several occasions

he accompanied her from some point on or near the campus.

29.      On October 22, 2017, Jane Roe sent John Doe a series of Facebook messages, including

the following:

         A.       Jane Doe said she had become “wicked anxious” and was “having a really tough

         time. John Doe responded and told her that he was “here for support” but Jane Roe,

         responded by saying, she “just [felt] really down,” that this feeling was “beyond normal.”

         B.       Jane Roe then told John Doe, “sorry this isnt ur problem.” John Doe responded

         to this message by saying, “No, no. Please talk to me about this if it makes you feel

         better. I really like to help and I understand what it is like to feel like that.”

         C.       Although John Doe continued to encourage Jane Roe, she eventually told him,

         “I’m not ok,” “i can’t be ok.” “its not gonna be ok’, nothings ok.” By this point, John

         Doe was becoming concerned about Jane Roe’s mental health and stability and he tried to



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      encourage her further by saying, “[Jane] you’re a strong smart person. You do whatever

      you set out to do” “You’ll be ok. I believe in you.”

      D.       Jane Roe acknowledged his message of support, but said, “no its beyond normal

      like its beyond what a , (sic) strong person can handle, im over this im done.” At this

      point, John Doe was very concerned that Jane Roe might hurt herself and responded by

      saying, “[m]aybe you should get help? There’s people on campus you can reach out to”

      and he provided her with a telephone number to a campus helpline, telling her it was the

      number to the “wellness center at the chapel.”

      E.       Jane Roe eventually told John Doe. “ill figure it out i guess” to which John Doe

      responded, “I believe that you will (smiley face emoji) You can always talk to me if you

      need to. Even if I can’t answer right away.”

      F.       Jane Roe acknowledged John Doe’s encouragement and offer of support, but

      added, “im just way too much of a mess and i dont wanna make it worse” to which John

      Doe responded, “[a]ll you can do is try your best, and don’t be afraid to ask for help.”

      G.       Jane Roe then told him that she was “always afraid to ask for help” but John Doe

      encouraged her again saying, “[d]on’t be. It’s ok to need help. I need help all the time.”

      In telling Jane Roe that he needed help “all the time,” John Doe said this to encourage

      Jane Roe to help her overcome her reluctance to seek help.

      H.       Jane Roe’s response to John Doe’s message of support was disturbing.              In

      response to his suggestion that she seek help, she answered, “I cant” and then added “im

      done.”

30.   Jane Roe’s repeated statements to John Doe about feeling insecure and the foregoing

FaceBook Messenger exchange between Jane Roe and John Doe left John Doe very concerned
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for Jane Roe’s emotional stability.   Jane Roe never told him what, in particular, caused her to

initiate the October 22 FaceBook Messenger exchange and he did not try to elicit that from her.

Instead, he decided to be as supportive and encouraging to her as possible.   He viewed her as a

psychologically fragile person who was unlikely to seek professional help for the problems she

faced and who, if she felt sufficiently overwhelmed, might harm herself.

31.    According to a Snapchat log, from their first exchange until up to the time Jane Roe

brought her complaint of sexual misconduct against John Doe, they had exchanged hundreds of

Snapchat messages, with Jane Roe sending approximately 135 messages to John Doe, and John

Doe sending approximately 121 to Jane Roe.

32.    A couple of occasions over the weekends, Jane Roe sent late night messages to John Doe

asking if he would like to hang out with her. The messages were sent so late at night that John

Doe had already gone to bed and did not see them until the next morning.

33.    John Doe visited Jane Roe in her room in O’Hara Hall several times over the course of

the Fall 2017 semester. They did not, at first, engage in any sexual intimacy. Instead they talked

about their college studies. Jane Doe said that her college studies were less demanding than her

high school work and that she had more time on her hands. She showed John Doe some artwork

she had made. She also showed him photographs of her friends.

34.    At some point, Jane Roe told John Doe that she had accused a male Stonehill student of

sexually assaulting her and that he was still a student at Stonehill, although she provided no

details about the assault.   John Doe never attempted to independently confirm Jane Roe’s

assertion and does not know whether she did, in fact, make such an accusation.

                      b. Pre-Incident Sexual Intimacy



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35.     Eventually, their relationship grew to include sexual intimacy. John Doe and Jane Roe

became sexually intimate for the first time in late October of 2017.

36.     John Doe visited Jane Roe in her room in the O’Hara Dormitory many times. Although

Jane Roe had started the semester with a roommate, her roommate moved out in late September

and, as a result, Jane Roe had no roommate.

37.     Their sexual intimacy involved kissing each other with John Doe rubbing and stroking

Jane Roe’s back, thighs and breasts.

38.     As their intimate relationship progressed, John Doe also used his fingers to stimulate Jane

Roe’s clitoris.   John Doe did not ask Jane Roe’s permission before beginning to stimulate her in

this way.   She physically communicated her consent by removing her clothing, allowing him to

fondle her and to rub her bare skin, and by making her vagina more accessible to him.        After

initiating the digital stimulation, John Doe asked Jane Roe if she wanted him to proceed. She

said that she did.

39.     From John Doe’s observation, his digital stimulation of Jane Roe caused her intense

physical pleasure. When Jane Roe reached the point where she no longer wanted John Doe to

stimulate her, she would ask him to stop and John Doe would stop.

40.     On the first occasion when they were sexually intimate as alleged above, Jane Roe told

John Doe that she wanted him to stop because she had once been sexually assaulted. She did

not provide any details about the assault. John Doe did stop as requested.

41.     On the second occasion when Jane Roe and John Doe were sexually intimate, they were

again in Jane Roe’s room in O’Hara Hall. The second encounter involving sexual intimacy

occurred when Jane Roe contacted John Doe through Snapchat and asked if he wanted to come

to her dormitory room. After he arrived, they became sexually intimate in the same way and to
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the same extent as they had before.     John Doe did ask for her permission to proceed and she

gave him the same physical cues as on the first incident and, when she wanted him to stop, she

told him to stop, and he did.

42.    As on the first sexual encounter, John Doe believed Jane Roe’s physical reaction to his

digital stimulation meant that Jane Roe had experienced intense physical pleasure.

43.    On at least one more occasion, John Doe and Jane Roe engaged in sexual intimacy in the

same way and to the same extent as in the first two sexual encounters.

44.    For the third sexual encounter, they were once again in Jane Roe’s room in O’Hara

Dormitory. Again, John Doe did not ask for Jane Roe’s permission, but she presented the same

physical cues from prior interactions that she wanted him to proceed to digitally stimulate her.

Once again, John Doe gained the impression through Jane Roe’s reaction to his digital

stimulation of her that Jane Roe had experienced intense physical pleasure.

45.    In addition to the aforementioned instances of sexual intimacy, John Doe and Jane Roe

continued to develop their friendship. Jane Roe continued to voice fear, lack of confidence, and

concern about her physical security on campus. John Doe always encouraged her to believe in

herself and supported her emotionally.       Oftentimes, Jane Roe voiced these concerns and

apprehensions to John Doe through social media—usually Snapchat—and John Doe usually

responded through the same medium.

46.    In these instances of sexual intimacy, John Doe and Jane Roe established a pattern of

verbal communication and physical cues by which Jane Roe indicated her consent to digital

stimulation and John Doe understood that she had consented.

47.    At no time in their relationship, did Jane Roe ever offer to stimulate John Doe sexually or

attempt to do so.   At no time did they engage or attempt to engage in sexual intercourse.
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               2.      November 18-19, 2017 Incident

48.    On the evening of Saturday, November 18, 2017, John Doe was on the Stonehill campus

with a friend, a male member of the Class of 2021. This male student was later interviewed by

Stonehill’s Title IX investigators and was referred to as Witness No. 1.

49.    Sometime between about 12:00 a.m. and 1:00 a.m. on Sunday, November 19, while in

Witness No. 1’s company, John Doe received a Snapchat message from Jane Roe saying that she

was at the New Hall dormitory, which was located near John Doe’s dormitory, Corr Hall, and

told him that she was scared to walk back alone from New Hall to her dormitory room at O’Hara

Hall. John Doe asked her if she would like him to walk her back to O’Hara Hall and she said

she would.

50.    Within a couple of minutes, John Doe approached New Hall and sent a Snapchat message

to Jane Roe asking her whether she was near the entrance. She did not respond.

51.     When Jane Roe did not respond, John Doe started walking in the direction of O’Hara

Hall. On the way, Jane Roe responded to him by Snapchat explaining that she had been on a

telephone call with her ex-boyfriend who was in Europe and had talked with him while she

walked back to O’Hara Hall. John Doe told her that he was already on his way to her room, but

she did not respond.

52.    Jane Roe’s room was on the second floor of O’Hara Hall.        When John Doe arrived on

the second floor, he saw a crowd of students near the door to Jane Roe’s room blocking his

access to her door.    As the way to Jane Roe’s door cleared, John Doe went to her door and

knocked. John Doe later learned that a female student who was also a member of the Class of

2021 was in this group of people.     Jane Roe later told Title IX Investigators that this female



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student was a witness and the Title IX Investigators interviewed her, designating her as Witness

No. 2.

53.      Jane Roe’s door had a peephole. John Doe placed himself so that she could see him

through the peephole and assumed that she checked it and confirmed that it was John Doe before

opening her door. When Jane Roe opened door, she invited John Doe into her room. She was

wearing a t-shirt and pajama shorts.

54.      John Doe asked Jane Roe how she was doing and she said that she was tired and she laid

down on her bed. John Doe laid down beside her with his back to the wall and with Jane Roe on

the outside of the bed.

55.      Jane Roe told John Doe that she had been to a party at New Hall and that there was a

large crowd at the party.   She became nervous because of the size of the crowd but didn’t have

any friends who would walk back with her.

56.      During this conversation, John Doe and Jane Roe were face to face and John Doe could

smell her breath. He did not detect any alcohol on her breath nor did she show any signs of

having consumed any alcohol.

57.      Jane Roe then told John Doe that she was cold and rose from the bed, removed her t-shirt

in front of him—she was wearing a bra—and put on a tank top and a fleece pullover.

58.      Jane Roe then returned to her bed and lay down next to John Doe.    In the same way he

had on earlier occasions, he began to rub her back and then moved his hand to her vagina and

began to digitally stimulate her.   She began to make moaning noises which, based on their prior

sexual interaction, John Doe knew meant that she was experiencing intense pleasure.        When

John Doe stopped, Jane Roe rolled onto her back and made her vagina more accessible to him.



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Based on their prior sexual interaction, John Doe believed that Jane Roe did this deliberately in

order to make it easier for him to continue stimulating her.

59.    As John Doe continued to stimulate Jane Roe, she continued to make moaning noises.

During this time, John Doe asked Jane Roe if she liked his stimulation of her, but she did not

answer; she just continued to make the moaning noises.

60.    Also during this time, John Doe also noticed that the lining of her vaginal chamber had

become moist.      John Doe understood that this also indicated that his stimulation of her was

causing her intense pleasure. John Doe continued to stimulate Jane Roe.

61.    After a little while, John Doe asked Jane Roe if she wanted him to stop. She did not

respond.     John Doe thought it was strange that Jane Roe did not respond. She then turned onto

her side with her back to him and began breathing heavily.

62.    John Doe was puzzled by Jane Roe’s failure to answer him and by her turning away from

him asked her if she was “okay”.      She answered him saying, “it’s not you. It’s ok.”

63.    At this point, Jane Roe rolled over towards John Doe and pinned him against the wall. It

seemed to him that she had gone to sleep. John Doe did not want to wake her, so he very

carefully maneuvered his way around her, got up, and left her room.

64.    John Doe estimated that approximately 30 minutes or more passed from the point where

Jane Roe invited him into her room and the time he left Jane Roe’s room.

             3. Morning of November 19—Post Sexual Intimacy Communications

65.    John Doe returned to his dormitory room at Corr Hall about 2:30 a.m. He believes that

at about 5:45 a.m. that same morning—the morning of Sunday, November 19—he received

Snapchat messages from Jane Roe which said things like, “what just happened”?; “that wasn’t

consensual,; and, “that wasn’t ok”.
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66.     John Doe was alarmed by Jane Roe’s messages because they were completely

inconsistent with the sexual intimacy they had engaged in earlier that morning. In addition,

although John Doe did not know whether this was true, Jane Roe had told him that at some point

she had accused another male student of some form of sexual misconduct towards her. He now

became concerned that she would accuse him, too.

67.     Jane Roe’s messages to John Doe became more accusatory and insistent. It was clear to

John Doe that she was blaming him and was unwilling to accept any responsibility for herself.

John Doe believed that she wanted him to accept full responsibility.

68.     John Doe thought Jane Roe was completely wrong. She had given him all the physical

cues she had given on the earlier occasions in which they had been sexually intimate.     It was

also clear to him that she had enjoyed his stimulation of her. He could not explain why now,

after the fact, she was asserting that she had not consented to his stimulation of her.

69.     John Doe was also concerned that Jane Roe’s unwarranted accusation might indicate that

she was emotionally and mentally fragile and that if he refused to accept responsibility, she

might have an emotional crisis.

70.     After receiving Jane Roe’s increasingly insistent and accusatory messages, John Doe

finally sent her two Snapchat messages in which he took complete responsibility for any

miscommunication between them.          In one message he wrote: “Please forgive me for being a

drunken idiot. I’d never want to hurt you.” In a second message, he said, “I’m so really sorry I

know I fucked up, I totally misread the situation. What can I do to make it right?”

71.     Neither Snapchat message that John Doe sent to Jane Roe was true. John Doe had not

been drinking on the evening of November 18-19. He was entirely sober. John Doe also did not

mistake the physical cues Jane Roe sent him that she wanted him to digitally stimulate her.
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These were the same cues she had manifested in their past sexual encounters. Moreover, as with

past experiences, the moistening of the lining of her vaginal chamber accompanied by her

moaning in pleasure told him that she was, in fact, enjoying his stimulation of her.

72.    John Doe knew that Jane Roe lacked self confidence and often felt vulnerable, and

believed that for some reason she did not want to accept responsibility for having engaged in

sexual activity with him.       He decided that he should send her a message accepting sole

responsibility so that she would feel better about herself.

73.    Both Snapchat messages were consistent with John Doe’s knowledge that, before he

began stimulating Jane Roe, she had consented and wanted him to begin and to continue. The

only responsibility that John Doe told Jane Roe that he accepted was not immediately

appreciating and understanding her withdrawal of consent, if in fact she had withdrawn her

consent.

       4.       Jane Roe’s Complaint, Issuance of No Contact Order, and Destruction of
                Content of Snapchat Messages

                       a.      Written Notice to John Doe of No Contact Order

74.    On information and belief, at some point on November 20, 2017, Jane Roe filed a

complaint of sexual misconduct against John Doe—specifically, nonconsensual digital

penetration of Jane Roe’s vagina. Jane Roe’s complaint was received by Lily Krentzman, Title

IX Coordinator for Stonehill College.

75.    At no time has Stonehill produced Jane Roe’s initial complaint, as filed or otherwise

recorded, to John Doe.




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76.    On November 20, Michael Labella, Director of Community Standards, wrote to John Doe

advising that Labella had received an “incident report dated November 18 (sic), 2017 in which

[John Doe] was allegedly involved.”

77.    Labella’s Letter confirmed an earlier directive that John Doe could have no contact with

Jane Roe and Jane Roe could have no contact with John Doe.

78.    Labella’s Letter did not describe the incident but, instead, stated that, “[d]ue to the nature

of the incident, until a more formal process takes place to address it, I am implementing a no-

contact order between you and [Jane Roe].”

79.    Labella’s Letter advised John Doe that the No Contact Order was sweeping - “including

but not limited to, in person, via email, telephone, through third party and/or any form of social

media.”

80.    Labella’s Letter warned John Doe that, if he failed to abide by the terms of the Order, he

would be exposed to “additional disciplinary action” (emphasis supplied). Labella thus implied

that Stonehill had already determined that John Doe was to be disciplined, but that if he violated

the Order, Stonehill could impose more penalties upon him.

81.    Labella’s authority to issue the No Contact Orderand the standards governing the

issuance of the No Contact Order that Labella sent were set forth in S1.14 Opposition to Sexual

and Gender-Based Misconduct and Interpersonal Violence, Obtaining Protection and Supportive

Resources, Protective Measures, Including Interim Measures, Exhibit A, (“Sexual Misconduct

Policy”).

82.    On information and belief, Labella’s issuance of the No Contact Order was not based on

an assessment of the particular and individualized facts of the case, but, rather, was based solely

on the nature of the allegation Jane Roe had made against John Doe.
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83.    On information and belief, Labella did not consider whether a less extensive interim

measure would serve the purpose of the No Contact Order as issued.

                      b.Stonehill’s Practice in Issuing No Contact Orders-Destruction of
                      John Doe’s Snapchat Messages with Jane Roe

84.    On information and belief, where a complainant accuses a respondent of violating the

Sexual Misconduct Policy, Stonehill routinely issues a No Contact Order without consideration

for the particular facts or circumstances underlying the complaint.

85.    On information and belief, Stonehill has learned that, in order to comply with No Contact

Orders, the accused student will very frequently, if not invariably, block the complainant from

the accused student’s social media accounts and applications and that, when the accused student

does this, the accused student will immediately lose certain types of social media messages

including, in particular, Snapchat messages.

86.    On information and belief, at the time Stonehill issued the No Contact Order to John Doe

and Jane Roe, it knew that Stonehill students frequently communicated by Snapchat and that it

was likely that, at least to some extent, John Doe and Jane Roe had communicated by Snapchat

and might have communicated by Snapchat on the subject matter of Jane Roe’s complaint.

Stonehill knew that, in that event, there would be a high likelihood that those Snapchat messages

would be highly probative of the veracity of Jane Roe’s accusations against John Doe.

87.     On information and belief, Stonehill also knew that, as the accuser, Jane Roe would have

had the opportunity to have already saved any Snapchat messages she deemed important to her

accusation.

88.    Although, on information and belief, Stonehill knew and understood all of the foregoing

about the consequences for John Doe and Jane Roe’s Snapchat messages should John Doe, in

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response to and in compliance with the No Contact Order, block Jane Roe on his Snapchat

application, Labella’s Letter did not warn John Doe that if he blocked Jane Roe on his Snapchat

account without taking steps to preserve any Snapchat messages between them, including

messages between them on the evening of November 18-19 and the morning of November 19,

those messages would be lost.

89.    The No Contact Order also failed to advise John Doe that John Doe should take steps to

preserve his records of his social media and other communications with Jane Roe to ensure that

Title IX Investigators whom Stonehill planned to assign to investigate Jane Roe’s complaint had

access to all relevant information.

90.         When John Doe was advised that Stonehill had issued a No Contact Order barring him

and Jane Roe from communicating with one another, he blocked Jane Roe from his Snapchat

service.    Later, John Doe realized that, when he blocked Jane Roe, he lost all the Snapchat

messages between them, including those of the night of November 18-19 and the morning of

November 19.

5.    Jane Roe Meeting with Title IX Coordinator, Lily Krenztman, Submission of
Prepared Statement.


91.    On information and belief, Jane Roe had informed Krenztman on November 20 that John

Doe had engaged in sexual misconduct with her and that sexual misconduct consisted of

nonconsensual digital stimulation which involved his penetration of her vagina.

92.    On November 21, 2017, Jane Roe met with Lily Krentzman, Stonehill’s Title IX

Coordinator. Krentzman wrote a “Memo to file” (“Memo to File”) documenting the meeting.




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93.    The Memo to File stated that Jane Roe had come to Krentzman’s office at 3:00 p.m. at

which point Krentzman “explained the process of a Title IX investigation and asked if she

wanted to go through the process and file a formal complaint.”. Jane Roe said that she did.

94.    The Memo to File stated that Jane Roe was “too nervous to speak” and that, because she

was too nervous to speak, Jane Roe had already prepared a written statement of her encounter

with John Doe which she gave to Krentzman. In three paragraphs, the Memo to File then set

forth Jane Roe’s account of her previous relationship with John Doe and of the incident in her

dormitory room in the early morning hours of November 19.

95.    According to the Memo to File, the only information that Jane Roe provided about her

pre-incident relationship with John Doe was that “a boy on the football team & I had previously

made out sober twice in my room.”

96.    As documented in the Memo to File, as to the incident of the evening of November 18-

19, Jane Roe asserted the following:

       A.     That on the evening of November 18, she was at New Hall on the Stonehill

       campus and that John Doe had offered to walk her back from New Hall to her dormitory.

       B.     That John Doe did not respond to her messages asking him to accompany her so,

       “I assumed he wasn’t coming.” Jane Roe then called her former boyfriend, whose first

       name she included, and whom she termed “my ex” and “he stayed on the phone with me

       while I walked over the bridge to O’Hara [Hall].”

       C.      That when she got back to her room she was “very drunk”. She changed into her

       pajamas and was planning to go to bed when she heard a knock at the door.     She opened

       it and John Doe was there.



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D.     That John Doe asked how she was doing and she said, “fine I’m just still drunk.”

She stated John Doe “let himself further into my room” and that she told him that she was

“drunk” and “tired” and did not “want to do anything.”

E.     That when John Doe did not “take the hint” so Jane Roe “was like alright I’m

going to bed” and she “laid down & closed my eyes hoping he would take THAT hint”

but, instead, John Doe laid down beside her. (Underscore and capital letters in original).

F.     That John Doe tried to kiss her but Jane Roe “literally didn’t let him. I said, stop,

I’m drunk. I don’t want to do anything with you.” Jane Roe stated that John Doe

questioned whether she was, in fact, drunk, and she responded “well I am, and I don’t

want to do anything.”

G.     That John Doe started “rubbing my back and my thigh and I started falling asleep,

which is very scary for me because sleep is such a vulnerable state.”

H.     That John Doe moved his hand “down my thigh quickly and brushed against my

vagina which left me completely shocked, awake, startled, and, taken aback.”

I.      That she then “pushed him away” and he “put his hand in my pajama shorts and

started rubbing and I said, ‘ I don’t want to…’ and then he started fingering me.”

J.     That she was “too drunk to fight him off” and added that, “I think he thought that

since I was wet I wanted it which made it ok? That I wanted it? Even though my words

directly contradicted it?” (Underscore in original).

K.     That she said “stop, I don’t want this, like three or four more times” and that John

Doe “kept adding more fingers. I don’t know how many but it hurt.”




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        L.       That she “jumped to some sort of last ditch effort to save myself & started crying

        & hyperventilating until I ‘fell asleep’ (I didn’t fall asleep, I was so panicked) He finally

        left.”

97.     The Memo to File noted that Jane Roe’s account concluded with John Doe’s name and

that “[t]here was a star drawn beside his name.”

98.     At no point does the Memo to File document an assertion from Jane Roe that, before and

during the November 19 encounter with John Doe, she was intoxicated to the point of

incapacitation within the meaning of the Sexual Misconduct Policy.

99.     After reciting Jane Roe’s statement, Krentzman’s Memo to File noted that Jane Doe “had

to leave for class for a test and told me that she was going to be leaving for home right from the

class. I told her I would be in touch with any questions.”

100.    The Memo to File concluded by noting Jane Roe was “aware that a mutual no contact

order is in place.”

101.    On information and belief, Krentzman asked Jane Roe no questions about her pre-

incident relationship with John Doe, her actions in the evening of November 18-19, her

interaction with John Doe in the early morning hours of November 19, how she had become

intoxicated, her level of intoxication, whether John Doe was intoxicated, or any other questions

about the incident, itself.

102.    On information and belief, despite advising Jane Roe that she might follow up with

questions, Krentzman never did.

103.    On November 22, 2017 and by letter of even date, Michael Labella, Stonehill’s Director

and Title IX Deputy /Office of Community Standards, formally notified John Doe that Stonehill

was commencing an investigation into a report from Jane Roe that, “on Saturday, November 18
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(sic), 2017 in [Jane Roe’s] room in O’Hara Hall, between 1:00 am and 2:00 am in [Jane Roe’s]

room in O’Hara Hall” John Doe violated the Stonehill’s S1.14 Opposition to Sexual and

Gender-Based Misconduct and Interpersonal Violence Policy by engaging in “nonconsensual

sexual intercourse” with Jane Roe.

104.     Labella’s Letter to John Doe was a form letter which included information specific to the

allegations Jane Roe had made against John Doe including the designation of the offense at

issue.

105.     In his letter, Labella explained that Jane Roe’s complaint alleged that John Doe had

engaged in “act(s) of sexual/gender-based misconduct or interpersonal violence.”

106.     In his letter, Labella, on behalf of Stonehill, made the following representations to John

Doe, all of which are set forth in the Sexual Misconduct Policy:

         A.     That Stonehill would use “an investigative model” to evaluate Jane Roe’s

         complaint;

         B.     That Stonehill would direct a Title IX investigator or investigators to conduct an

         investigation of Jane Roe’s complaint;

         C.     That the Title IX investigators were “specifically trained to handle this type of

         incident;”

         D.     That the Title IX investigators would “interview[] anyone with knowledge of the

         incident;”

         E.     That the investigation that the Title IX investigators would conduct would be

         “prompt, thorough, and dedicated to impartial fact-finding.”

         F.     That the Title IX investigators would “offer to meet with you, to discuss the facts

         gleaned in the matter” and, “if no further evidence is presented,” would submit a report to
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       the Associate Vice President for Student Affairs/Dean of Students (“AVPSA/Dean of

       Students”) which would contain “factual findings and a recommendation of responsibility

       as to the original claim and/or any lesser offense.”

       G.      That the Title IX investigators would allow “both parties (the Complainant and

       the Respondent) sufficient time between receipt of the written notice and any initial

       meeting in order to prepare for meaningful participation in the investigation;”

       H.      That after the Title IX investigators submitted their report to the AVPSA/Dean of

       Students, the AVPSA/Dean of Students would “determine if the facts gleaned from the

       investigation do indeed align with the findings and recommendation of responsibility

       offered by the Investigator(s);”

       I.      That following this review and analysis of the Title IX investigators’ report, the

       AVPSA/Dean of Students would “then issue a formal decision in the matter, including

       sanctions;”

       J.      That John Doe would be notified when “the investigation is complete” and that

       John Doe would be “scheduled to meet with the [AVPSA/Dean of Students].”

107.   In his letter, Labella advised that Title IX Investigators, David Bamford and Shayla

Jordan, had been assigned to conduct the investigation.

108.    In his letter, Labella advised John Doe that he could avail himself of college counseling

resources and provided links to websites with more information on those services, though

Labella also cautioned that not all the counseling services were confidential.

109.   In his letter, Labella advised that John Doe should view Labella, himself, “as a resource”

and that John Doe could contact him anytime to assist him in what Labella described as a “very



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stressful time for you.”   In offering himself as a resource, Labella did not say whether he would

or could hold any communications with John Doe in confidence.

110.   In his letter, Labella confirmed that Stonehill’s No Contact Order with Jane Roe

remained in place.

111.   Although Labella’s letter included many standards and processes, some of them taken

verbatim, in part from Stonehill’s Opposition to Sexual and Gender-Based Misconduct and

Interpersonal Violence Policy (effective June 27, 2017), the letter did not identify them as

excerpts from that Policy by placing them in quotation marks, or by providing citations to the

sections of that Policy where John Doe could find them.

112.   In his letter, Labella also did not advise John Doe that the Sexual Misconduct Policy

characterized his allegedly nonconsensual digital stimulation of Jane Roe—as “nonconsensual

sexual intercourse”—a description which connotes forcible sexual intercourse or sexual

intercourse with someone who is incapacitated.

113.   Labella also did not inform John Doe that, based on an unstated, unpublished Stonehill

policy, in imposing sanctions for students found “responsible” for having engaged in

nonconsensual sexual intercourse, Stonehill would make no distinction between the extent of the

sexual interaction, including whether the sexual interaction involved actual sexual intercourse or

some other form of sexual contact, whether the sexual interaction was commenced with consent

that was later withdrawn, or any other factor bearing on the degree or intensity of the

misconduct, but would, subject to his appellate rights, immediately expel John Doe and include

the expulsion as a permanent part of his Stonehill Education Record.




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114.   Labella also did not inform John Doe that Stonehill’s unstated and unpublished policy of

expulsion and permanent record notation would be imposed without consideration and

irrespective of its impact on John Doe’s educational aspirations and opportunities


   C. TITLE IX OF EDUCATION AMENDMENTS OF 1972 AND DEPARTMENT OF
      EDUCATION TITLE IX GUIDANCES ACT AND DEPARTMENT OF
      EDUCATION LETTERS OF GUIDANCE

       1. Title IX of the Education Amendments Act of 1972 and Stonehill’s Receipt of
          Title IX Monies.

115.   In 1972, Congress enacted Title IX of the Education Amendments Act of 1972 which

was codified at 20 USC § 1681, et seq. (“Title IX”).

116.   Title IX provides in pertinent part that, “[n]o person in the United States shall, on the

basis of sex, be excluded from participation in, be denied the benefits of, or be subjected to

discrimination under any education program or activity receiving Federal financial assistance…”

20 USC § 1681(a)(1).

117.   Regulations implementing Title IX were issued and set forth at 34 CFR, Part 106.

118.   On information and belief, at the time of the incident between John Doe and Jane Roe on

November 18-19, 2017, Stonehill received Title IX funding from the Department of Education

and was subject to the requirements of Title IX as well as rules and guidances issued by the

Department of Education pursuant thereto.




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       2. 1997-2001 Department of Education/Office of Civil Rights Guidance

119.   In 1997, the Department of Education, Office of Civil Rights (“OCR”) issued a notice

designated, “Sexual Harassment Guidance:            Harassment of Students by Employees, Other

Students, or Third Parties” which was published in the Federal Register at 62 Fed. Reg. 12034-

01 (“1997 Title IX Guidance”).

120.   The 1997 Guidance was revised and reissued in 2001 and published in the Federal

Register at 66 Fed. Reg. 5512-01. (“2001 Title IX Guidance”).

121.   Both the 1997 and 2001 Title IX Guidance set forth the obligations of Title IX recipients

to eliminate sex discrimination in educational programs including sexual harassment which “can

be a form of sex discrimination.”      The Guidance set forth Title IX Regulatory Compliance

Responsibilities which described the investigations and adjudications of complaints that Title IX

recipients were required to conduct be: “prompt and equitable;” “prompt, thorough, and,

impartial;” and “adequate, reliable, and impartial.”

122.   The 2001 Guidance set forth a list of prohibited actions which Title IX recipients were

required to observe.

123.   The 2001 Guidance also included a detailed description of standards and means by which

Title IX recipients could weigh the credibility of the statements made by the complainant and the

respondent for the purpose of determining “who is telling the truth.” These standards and means

included, but were not limited to, the following:

           A. Determinations should be based on the “totality of the circumstances.”

           B. To evaluate the credibility of the accuser and the accused, the 2001 Guidance

               provided the following examples:



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               1. “[T]he consistency and level of detail provided by the accuser and the accused

                   should be compared to determine who was telling the truth.”

               2. The absence of “corroborative evidence where it should logically exist.”

               3. Prior findings that the “alleged harasser” has harassed others “may support the

                   credibility” of the accuser.

               4. Prior findings that the accuser has “been found to have made false allegations

                   against other individuals” could “weaken[]” the accuser’s claims.

               5. Evidence that shortly after the incident witnesses said that the accuser

                   “appeared to be upset”; that the accuser reported the incident and told others

                   about the incident shortly after it occurred.

124.   In 2006, OCR issued a “Dear Colleague” letter with some revisions to the 2001 DOE

Title IX Guidance. (“2006 Dear Colleague Letter”). The 2006 Dear Colleague Letter did not go

through the comment and review process and was not published in the Federal Register.

       3.      Office of Civil Rights Dear Colleague Letter of April 4, 2011

125.   On April 4, 2011, the OCR issued a “Dear Colleague” letter to Title IX recipients

expanding on the DOE Title IX Guidance (“2011 Dear Colleague Letter”).

126.   The 2011 Dear Colleague Letter was not subject to the public review and comment

process, but was issued to Title IX recipients, including Stonehill, in letter form.

127.   The 2011 Dear Colleague Letter required Title IX recipients to implement measures to

investigate, evaluate, adjudicate, and resolve complaints of “sexual violence.” It defined

“[s]exual violence” as “physical acts perpetrated against a person’s will or where a person is

incapable of giving consent due to the victim’s use of drugs or alcohol.” Id. at 1.



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128.   The 2011 Dear Colleague Letter also advised Title IX recipients that, unless otherwise

noted, the term “sexual harassment” also “includes sexual violence.” Id. at 1, n.1.

129.   The 2011 Dear Colleague Letter required Title IX recipients to take the following steps:

           A. Appoint a Title IX Coordinator. Id. at 7.

           B. Adopt grievance procedures that “afford[ed] the complainant a prompt and

               equitable resolution.” Id. at 8.

           C. Prohibit informal mediation to resolve a complaint where the accuser has alleged

               sexual assault even where such mediation was entirely voluntary. Ibid.

           D. Adopt a “preponderance of the evidence” standard for all complaints of sexual

               harassment or violence. Id. at 11.

           E. Adopt a prohibition on allowing the “alleged perpetrator” to question the accuser

               directly.   Id. at 12.

           F. Resolve sexual harassment complaints within 60 days barring extenuating

               circumstances. Ibid.

130.   The 2011 Dear Colleague Letter stated that Title IX recipients “should not wait for the

conclusion of a criminal investigation or criminal proceeding to begin their own Title IX

investigation and, if needed, must take immediate steps to protect the student in the educational

setting.” Id. at 10.

131.   Based on a single OCR case, the 2011 Dear Colleague Letter advised that “the

prosecutor’s office informed OCR that the police department’s evidence gathering usually takes

three to ten calendar days…” Id. at 10. n. 25.




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       4. Department of Education/Office of Civil Rights Questions & Answers, April 29,
          2014

132.   On April 29, 2014, OCR issued “Questions and Answers on Title IX and Sexual

Violence” (2014 Q&A”). Acting pursuant to 72 Fed. Reg. 3432, the Office of Management and

Budget determined that the 2014 Q&A was a “significant guidance document.”

133.   The 2014 Q&A included the following guidance and requirements for Title IX recipients:

              A. It defined “sexual violence” to include “physical acts perpetrated against a

                 person’s will or where the person is incapable of giving consent (e.g. due to

                 the person’s age or use of drugs or alcohol, or because an intellectual or other

                 disability prevents the student from having the capacity to give consent).”

                 2014 Q&A at §A-1.

              B. It confirmed the 60 day time frame set forth in the 2011 Dear Colleague Letter

                 for resolving complaints of sex discrimination including sexual violence as

                 defined in the 2014 Q&A. Id. at §§C-5, F.8.

              C. It reiterated the 2011 Dear Colleague Letter requirement that Title IX

                 recipients apply a “preponderance of the evidence” standard to complaints of

                 sexual harassment (which, it further advised, included “sexual violence”) and

                 made clear that it was mandatory. Id. at § C-5(8), p. 13; F-1, p. 26.

              D. It provided that Title IX recipients must provide “notice of potential sanctions

                 against perpetrators.” Id. at § C-5(10), p. 13.

              E. It advised that Title IX recipients were not required to provide separate

                 grievance procedures for the investigation, evaluation, and adjudication of

                 sexual harassment complaints as long as the process was “prompt and

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        equitable” and the “preponderance of the evidence” standard was applied.

        Id. at § C-6.

     F. It advised that because criminal charges can result in incarceration, but that

        Title IX sexual harassment charges can never result in incarceration and,

        therefore, “the alleged perpetrator” of a Title IX violation was entitled to

        fewer protections than a criminal defendant. Id. at § F-2, p. 27.

     G. It advised that the Title IX recipients “[m]ust not require the complainant to

        be present at the hearing as a prerequisite to proceed with the hearing.”   Id. at

        § F-5.

     H. It advised that, “OCR strongly discourages a school from allowing the parties

        to question or cross examine each other during a hearing on alleged sexual

        violence.” Id. at § F-6.

     I. It set forth standards and factors for Title IX recipients to consider in

        imposing “interim measures” on the “complainant and the alleged

        perpetrator.” Id. at § G-2.

     J. It set forth factors that Title IX recipients should consider in imposing any

        sanction or remedial action.    Id. at § H-1.

     K. It advised that Title IX recipients were not required to provide appellate

        processes for decisions on sexual harassment complaints but, where a Title IX

        recipient provided for such a process, it recommended that appellate bases

        include 1) procedural error; 2) previously unavailable evidence that “could

        significantly impact the outcome of a case;” and 3) “where a sanction is

        substantially disproportionate to the findings.” Id. at § I-1.
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             D. STONEHILL POLICIES S1.14—OPPOSITION TO SEXUAL AND
                GENDER-BASED MISCONDUCT AND INTERPERSONAL VIOLENCE
                AND S1.3—COMMUNITY STANDARDS AND STUDENT CONDUCT
                PROCESS IN GENERAL

134.   Stonehill’s Sexual Misconduct Policy sets forth the standards and processes for

investigating, evaluating, adjudicating, and resolving complaints within its jurisdiction that are

separate and distinct from the standards and processes Stonehill has established under its policy

designated    “S1.3—Community Standards and Student Conduct Process” (“Community

Standards Policy”). (Exhibit B).

135.   In addition to setting forth standards of conduct, both policies establish investigative,

evaluative, adjudicatory processes for accepting, reviewing, deciding, and, sanctioning

prohibited conduct.

       E. STONEHILL’S DEVELOPMENT AND ADOPTION OF ITS POLICY S1.14—
          OPPOSITION TO SEXUAL AND GENDER-BASED MISCONDUCT AND
          INTERPERSONAL VIOLENCE.

136.   Since before the issuance of the 2011 Dear Colleague Letter, Stonehill was and at the

present time remains, a recipient of Title IX funding from the Department of Education.

137.   On information and belief, before the issuance of the 2011 Dear Colleague Letter,

Stonehill investigated, evaluated, adjudicated, and resolved complaints of sexual misconduct

between students under the Community Standards Policy or similar policy in which the accused

student had the opportunity to present a defense to a panel in a hearing and have questions posed

to the accuser.

138.   On information and belief, sometime after OCR issued the 2011 Dear Colleague Letter,

Stonehill separated the investigation, evaluation, adjudication, and resolution of sexual



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misconduct claims involving students from the Community Standards Policy, or similar policy,

and adopted the Sexual Misconduct Policy or similar predecessor thereto.

139.   Both policies were fundamentally based on an accusatory as opposed to inquisitorial

system of investigation, evaluation, and adjudication, which included the following components

of an accusatory system:

               A. That the process must be initiated by a complaint;

               B. That the accused had a right to review the complaint; and

               C. That Stonehill had to prove the student “responsible” for the conduct charged

                   in the complaint by a preponderance of the evidence.

140.    Aside from these common features, Stonehill’s Sexual Misconduct Policy differed

materially from Stonehill’s Community Standards Policy in that the former relied on

investigators to investigate the charge, determine the scope of the investigation, interview

witnesses, obtain documentary evidence, evaluate and interpret the evidence gathered and

recommend findings of fact and policy standards, including recommendations as to

“responsibility” to the Associate Vice President for Student Affairs/Dean of Students.        The

decision as to responsibility and sanction was assigned to the AVPSA/Dean of Students.

141.   By contrast, the Student Community Standards Policy did not employ investigators but,

rather, used a hearing panel process in which the accuser and the accused were entitled to present

evidence, including witnesses, to a panel which, received and reviewed evidence, questioned

witnesses (including allowing questioning by the accuser and the accused through the panel

chair), and adjudicate the issue of responsibility.

142.   Upon a finding of responsibility, the determination of the appropriate sanction was

assigned to the AVPSA/Dean of Students.
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143.   The 2011 Dear Colleague Letter did not require Stonehill to separate the investigation,

evaluation, adjudication, and resolution of sexual misconduct claims from the standards and

processes it applied to non-sexual misconduct claims. However, on information and belief,

Stonehill chose to separate them in order to secure greater institutional control over sexual

misconduct claims and to minimize the risk of OCR investigations or adverse publicity, or both,

over of its handling of sexual misconduct claims.

144.   The Sexual Misconduct Policy included a table that illustrated the process Stonehill

follows upon receipt of a complaint of sexual misconduct (“Sexual Misconduct Complaint

Table”). Exhibit A, Table. The Sexual Misconduct Complaint Table set forth the following steps

in graphic form:

           A. The Complaint may be reported to various persons and entities including the

              campus police, the Title IX Coordinator, the Town of Easton Police, Residence

              Life, or through an Online Incident Report Form;

           B. The Complaint separated the process where no criminal investigation has been

              reported from one where a criminal investigation has been reported;

           C. “Trained Title IX Investigator(s)” would interview “the complainant(s),

              respondent(s), and witnesses;”

           D. “Upon completion of the investigation, the Investigator(s) will offer to meet with

              the complainant and the respondent separately to discuss (post fact-finding but

              before a recommendation has been made with regard to responsibility) the facts

              gleaned in the matter and to offer the final opportunity to the parties to ensure that

              both have been afforded the opportunity to present all relevant witnesses and

              evidence before the finding is reached;”
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               E. Outcome meeting w/Dean of Students; and

               F. Potential appeal w/Vice President for Student Affairs.”

145.      The Sexual Misconduct Policy in effect as of June 27, 2017 gave Stonehill maximum

control over its investigation, evaluation, adjudication, and resolution of sexual misconduct

claims.

          F.      STONEHILL POLICY S1.14—OPPOSITION TO SEXUAL AND
                  GENDER-BASED MISCONDUCT AND INTERPERSONAL VIOLENCE

146.      On information and belief, in response to the 2011 Dear Colleague Letter, Stonehill

separated its investigation, evaluation, adjudication, and resolution of claims of sexual

misconduct and issued the investigator-based Sexual Misconduct Policy.

          1.      Statement of Intent of Sexual Misconduct Policy.

147.      Stonehill’s Sexual Misconduct Policy sets forth a “Statement of Intent” which, inter alia,

includes “an environment free from sexual and gender-based harassment, sexual assault,

interpersonal violence, dating violence, stalking, sexual exploitation, complicity and retaliation.”

ExhibitA, Statement of Intent.

148.      The Statement of Intent states that Stonehill will “take prompt and equitable action” to

“eliminate [misconduct prohibited by the Sexual Misconduct Policy], prevent its recurrence, and

remedy its effects.” Ibid.

149.      The Statement of Intent states that “[s]tudents found responsible for violating this Policy

will face sanctions up to and including dismissal from the College.” Ibid.

150.      The Statement of Intent states that Stonehill “designed this Policy to be in compliance

with Title IX of the Higher Education Act of 1972 (‘Title IX’)” as well as the Clery Act and the

2013 Reauthorization of the Violence Against Women Act. Ibid.

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151.      The Statement of Intent states that, “[s]exual/gender-based misconduct or interpersonal

violence, as defined in this document, constitutes forms of sex discrimination prohibited by Title

IX, a federal civil rights law.” Ibid.

152.      The Statement of Intent states that Stonehill will “disseminat[e] clear procedures for

responding to sexual/gender-based misconduct or interpersonal violence reported or reasonably

known to the College.” Ibid.

153.      The Statement of Intent states that Stonehill “deliver[] primary prevention and awareness

programs and ongoing training and education campaigns” relating to various aspects of sexual

and gender-based misconduct. Ibid.

154.      The Statement of Intent states that Stonehill will “engag[e] in an impartial, prompt, fair,

and equitable investigative process to resolve reports of sexual/gender-based misconduct or

interpersonal violence.” Ibid.

155.      The Statement of Intent states that Stonehill will provide “a written explanation of the

rights and options available to every student or employee that has been the victim of violations of

this Policy, regardless of when or where the conduct occurred.” Ibid.

156.      In addition, the Statement of Intent states that the Sexual Misconduct Policy “[p]rovides

information on how reports [of violations of the Policy] are assessed, investigated, and resolved.”

Ibid.

          2.      Primacy of the Sexual Misconduct Policy Jurisdiction

157.      Title IX Deputy, Michael Labella, determined that Jane Roe’s complaint came within

Stonehill’s Sexual Misconduct Policy, set forth at S1.14 of Stonehill’s rule of conduct.

158.      The Sexual Misconduct Policy provides that it has primacy over the Student Conduct

Policy.        The Gender-Based Misconduct Policy states that, where a complaint includes an
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allegation of misconduct or interpersonal violence that is “not sexual/gender-based misconduct

in nature but is related to sexual gender-based misconduct or interpersonal violence,” complaints

of such conduct “will be investigated and decided under this Policy.” ExhibitA, Jurisdiction.

The Sexual Misconduct Policy also has primacy over reports of harassment and discrimination.

Id. at Notice of Non-Discrimination & Notice of Coordination with Opposition to Sexual

Harassment and Other Forms of Discrimination Policy Section of the Gender-Based Misconduct

Policy.

          3.      Standards for Conduct Violative of Gender-Based Misconduct Policy.

159.      The “Examples and Definitions” Section of the Sexual Misconduct Policy includes

descriptions of conduct including Gender-Based Harassment, Dating Violence, Domestic

Violence, Stalking, and Sexual Misconduct.         Id. at Examples and Definitions.

160.      Among the definitions set forth in the Sexual Misconduct Policy are the following:

               A. The term “Sexual Misconduct” is a comprehensive term covering “Non-

                  Consensual Sexual Intercourse;” “Non-Consensual Sexual Contact;” “Sexual

                  Exploitation,” and “Sexual Harassment.” Ibid.

               B. Non-Consensual Sexual Intercourse and Non-Consensual Sexual Contact are

                  defined as follows:

                  1.   The term “Non-Consensual Sexual Intercourse” is “the penetration, no matter

                       how slight, of the vagina or anus with any body part or object, or oral

                       penetration by a sex organ of another person, without the consent of the

                       victim.” Ibid.

                  2. The term “Non-Consensual Sexual Contact” is defined as “includ[ing] but is

                       not limited to, the touching of the private parts of another person, without the
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                   consent of the victim, including instances where the victim is incapable of

                   giving consent because of their (sic) age or because of their (sic) temporary or

                   permanent incapacity.” Ibid.

161.    The Sexual Misconduct Policy also includes a description of the word “consent” which

is both a definition and a standard of conduct, and which states in part that “[c]onsent means

informed, freely and voluntarily given agreement, communicated by clearly understandable

words or actions, to participate in each form of sexual activity.”   Ibid. The Sexual Misconduct

Policy provides that consent is “mutually understandable when a reasonable person would

consider the words or actions of the parties to have demonstrated agreement between them to

participate in the sexual activity.” Ibid. The Sexual Misconduct Policy also states that, “consent

to sexual activity can be withdrawn at any time at which point all sexual activity for which

consent has been given must cease.” Ibid.

162.    The Sexual Misconduct Policy includes an “Additional Clarification Regarding Sexual

Misconduct” which sets forth Stonehill’s guidance on consensual sexual interaction and includes

a list of “[e]xamples of behavior that demonstrate lack of consent and may constitute assault.”

Ibid.

163.    The Sexual Misconduct Policy includes a description and definition of “Incapacitation”

which, in part, means “a state beyond drunkenness or intoxication” and is “a state in which an

individual is unable to give consent because they (sic) lack the ability for self-care, i.e., the

person lacks the capacity to understand the ‘who, what, when, why or how’ of the sexual

interaction.” Ibid.

164.    The Sexual Misconduct Policy also includes a section entitled “Related Massachusetts

Legal Definitions” which notes that instances of sexual misconduct and interpersonal violence
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are “governed in accordance with this Policy” and adds that students who believe they have been

the victim of a crime “may choose to pursue a criminal investigation through local law

enforcement in addition to the adjudication of the case by the College.”           Id. at Related

Massachusetts Definitions.

165.   To assist students who may be considering making a report to law enforcement, the

Sexual Misconduct Policy lists definitions of offenses, including criminal offenses, as defined by

the laws of the Commonwealth of Massachusetts.              These definitions include Domestic

Violence, Dating Violence, Sexual Assault, which is further defined as “Rape”; Consent, and,

Stalking. Ibid.

166.   Under the heading “Sexual Assault” the Sexual Misconduct Conduct Policy states that

the Commonwealth of Massachusetts “defines rape as (1) the penetration of any orifice by any

body part or object (2) by force and (3) without consent. Rape also includes instances where the

victim is incapacitated (“wholly insensible so as to be incapable of consenting”) and the

perpetrator is aware of the incapacitation.”   Ibid.

167.   In setting forth this definition of “rape” under the laws of the Commonwealth of

Massachusetts, the Sexual Misconduct Policy broadened and misstated the scope of conduct

constituting “rape” under those laws.    Cf., Ibid., [Mass. .G.L 265 § 22. See Commonwealth v.

Enimpah, 966 N.E. 2d 840, 842 (Mass. App. Ct. 2012).

168.   The Sexual Misconduct Policy includes a provision entitled “Amnesty” which explains

persons may be reluctant to report “sexual/gender-based misconduct or interpersonal violence”

out of concern that “they, themselves, or witnesses to the misconduct may be charged with

violations of the alcohol and other drug policy.”      Exhibit A at Statement of Rights of those

Involved in Incidents of Sexual/Gender-Based Misconduct or Interpersonal Violence, Amnesty.
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The Amnesty provision states that, “[w]hile these behaviors are not condoned by the College, the

need to address instances of sexual/gender-based misconduct or interpersonal violence will take

precedent (sic). Accordingly, the College will not pursue disciplinary actions against a student

who reports, in good faith, to be the victim of, or witness to, sexual/gender-based misconduct or

interpersonal violence.” Ibid. By contrast, there is no such amnesty provision in the Student

Conduct Policy.

       4.        Investigative, Evaluative,     and    Adjudicatory     Process   under    Sexual
                 Misconduct Policy

                 a.     Role of Title IX Coordinator

169.   Stonehill’s Sexual Misconduct Policy sets forth a statement under the Role of Title IX

Coordinator Deputies & Investigators section of the Policy (“Role of Title IX Coordinator

Section”) which includes, inter alia, the statement that Stonehill’s Title IX Coordinator…is

responsible for the oversight of this Policy and any procedures related to it.” It provides further

that “[t]he Title IX Coordinator is responsible for overseeing and resolving all Title IX reports

and identifying and addressing any patterns or systemic concerns that arise during the review of

such reports.”    Id., Role of Title IX Coordinator, Deputies & Investigators.

170.   The Community Standards Policy defines “Title IX Coordinator” as “[t]he individual

responsible for monitoring the overall implementation of Title IX for the College and conducting

compliance with Title IX in all areas covered by the implementing regulations.”         Exhibit A,

Glossary of Terms at § 29.

171.    The Role of Title IX Coordinator Section also provides that the Title IX Coordinator is

responsible for overseeing “prompt, fair, equitable investigations and resolution of reports of




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violations of this Policy at the College.” Exhibit A, Role of Title IX Coordinator, Deputies &

Investigators.

172.   The Community Standards Policy defines “Title IX Investigator” as “[t]he individual

who conducts investigations pursuant to Policy S1.14, prepares reports on Title IX compliance

activities, and issues findings of fact to the appropriate decision makers.” ExhibitA, Glossary of

Terms, § 30.

173.   The Role of Title IX Coordinator Section provides that, “Title IX investigators will

conduct thorough and impartial investigations into the facts of a case, including interviewing the

complainant, the respondent, or others who may have relevant information and collecting any

other evidence deemed relevant to the case.” Exhibit A, Role of Title IX Coordinator, Deputies

& Investigators.

                 b.   Reporting Sexual Misconduct Policy Violations

174.   The Sexual Misconduct Policy provides that the Title IX Coordinator or Deputy will

assess a complaint to determine whether it comes within the Gender-Based Misconduct Policy

and, if so, will assign the complaint for investigation to a Title IX Investigator. Id., Reporting

Sexual/Gender-Based Misconduct or Interpersonal Violence, Report to the College.

175.   The Sexual Misconduct Policy states that “every staff member and investigator involved

in the intake or resolution of complaints will be annually trained on how to conduct an

investigation and hearing process that protects the safety of individuals and promotes individual

accountability.” Id. at Reporting Sexual/Gender-Based Misconduct or Interpersonal Violence, n.

2.

176.   The Sexual Misconduct Policy acknowledges that a complaint involving conduct covered

by the Policy could also be the subject of a criminal investigation.   In that event, the Gender-
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Based Misconduct Policy recognizes a right in the complainant to “request that the Campus

Police attend [the Title IX Investigators’] interviews.     Id. at Reporting Sexual/Gender-Based

Misconduct or Interpersonal Violence, Report to College.

177.   The Sexual Misconduct Policy states that, “the College will not wait for the outcome of

any criminal investigation, but can delay the administrative investigation for up to 10 days to

allow law enforcement to conduct initial fact finding. In the event further delay is required, the

parties will be notified as appropriate after ten days.” Ibid.

   c. Standards, Processes, and Rights under Sexual Misconduct Policy

       i.      Imposition of Interim Measures

178.   The Sexual Misconduct Policy authorizes the Title IX Coordinator and the Deputy Title

IX Coordinator to impose “interim measures.”          Id. at Obtaining Protection and Supportive

Resources; see also, Id. at The Investigation and Disciplinary Process for Sexual/Gender-Based

Misconduct and Interpersonal Violence.       The Title IX Investigators may recommend “interim

measures” to the Title IX Coordinator or the Deputy Title IX Coordinator. Ibid.

179.   The Sexual Misconduct Policy provides “interim measures” may be “both remedial

(designed to address a complainant’s safety and well-being and continued access to educational

opportunities) or (sic) protective (involving action against a respondent).” Id. at Obtaining

Protection and Supportive Resources.

180.   The Sexual Misconduct Policy provides that “interim measures” must be “designed to

eliminate the sexual/gender-based misconduct and interpersonal violence, prevent its recurrence,

and remedy its effects.” Ibid.

181.   Lists of possible “interim measures” appear at two different points in the Sexual

Misconduct Policy.      Notably, the lists are not identical.    Id. at Obtaining Protection and
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Supportive Resources; see also, Id. at The Investigation and Disciplinary Process for

Sexual/Gender-Based Misconduct and Interpersonal Violence.

182.    As set forth above, the Sexual Misconduct Policy requires the Title IX Coordinator or

Deputy Title IX Coordinator to make preliminary determinations as to the merits of the

complaint and to impose preliminary “remedial measures” on the complainant, the respondent or

both.

183.    The Sexual Misconduct Policy recognizes that it may not be possible to keep the “interim

measures” that may be imposed confidential but that Stonehill will attempt to maintain

confidentiality “to the extent practicable.” Id. at The Investigation and Disciplinary Process for

Sexual/Gender-Based Misconduct and Interpersonal Violence.

184.    Aside from the foregoing standard, the provisions of the Sexual Misconduct Policy that

address “interim measures” do not require the consideration of the impact of the interim

measures on the accused student.     Id. at Obtaining Protection and Supportive Resources; see

also, Id. at The Investigation and Disciplinary Process for Sexual/Gender-Based Misconduct and

Interpersonal Violence.

           C. Conduct of Investigation—Title IX Investigators

185.    The Sexual Misconduct Policy states that investigation of complaints will be “prompt,

thorough, and dedicated to impartial fact finding.” Id. at The Investigation and Disciplinary

Process for Sexual/Gender-Based Misconduct and Interpersonal Violence.

186.    The Sexual Misconduct Policy provides that “[f]ormal rules of process, procedure or

rules of evidence, such as those applied in criminal or civil courts, are not used in Title IX

investigations, however, the College does utilize a preponderance of the evidence standard when

conducting investigations” and provides further that, “[t]he preponderance of the evidence
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standard is based in civil law and requires the investigator to determine whether the evidence

shows that it is more likely than not that the alleged incident occurred.” Ibid.

187.   The Sexual Misconduct Policy includes a process for “informal resolution” but provides

that “complaints alleging sexual misconduct including sexual assault and nonconsensual sexual

touching and other forms of physical violence, are not appropriate for informal resolution and

must proceed directly to a formal investigation.” Ibid.

188.   The Sexual Misconduct Policy requires that reports of violations of the Gender-Based

Misconduct Policy “will be referred to one or more of the College’s Title IX Investigators, who

will investigate the allegation.” Ibid.

189.    The Sexual Misconduct Policy states that Title IX Investigators are also authorized to

recommend to the Title IX Coordinator or Deputy the imposition of “interim restrictions”

including “no contact orders.” Ibid.

190.   The Sexual Misconduct Policy states that “[c]omplainants and respondents are permitted

to submit to the Title IX Investigator potential witness names and questions to be asked during

the investigative process” and provides further that, “the Investigator will assess the

appropriateness and relevance of the questions and the witness names submitted.”    Ibid.

191.   The Statement of Rights provides further that the Complainant and Respondent are

“allowed to submit potential witness names for consideration and be informed of all witnesses

being interviewed [and are] allowed to submit questions to the investigators to ask during the

investigation.” Ibid.

192.   The Sexual Misconduct Policy provides that the Complainant and the Respondent have

the right to “[b]e allowed to submit potential witnesses’ names for consideration and be informed



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of all witnesses being interviewed.” Id., Statement of Rights for those Involved in Incidents of

Sexual/Gender-Based Misconduct or Interpersonal Violence.

193.   The Sexual Misconduct Policy provides further that the Complainant and the Respondent

have the right to “[b]e accompanied by an advisor of choice to any meeting or disciplinary

proceeding in which the complainant or respondent is required to be present” and provides

further that “[a]n advisor may not directly address the Title IX Investigators or otherwise

participate in the investigation.” Ibid.

194.   The Sexual Misconduct Policy states that, “[u]pon completion of the investigation, the

Investigator will offer to meet with the complainant and the respondent separately to discuss

(post fact finding but before a recommendation had been made with regard to responsibility) the

facts gleaned in the matter and to offer a final opportunity to the parties to ensure that both have

been afforded the opportunity to present all relevant witnesses and evidence before the finding is

reached.”    Id. at The Investigation and Disciplinary Process for Sexual/Gender-Based

Misconduct and Interpersonal Violence.

195.   The Sexual Misconduct Policy states further that after the “facts that will be used to reach

the outcome are shared with the parties, the final report will be submitted to the Associate Vice

President for Student Affairs/Dean of Students.” Ibid.

196.   The Sexual Misconduct Policy states further that the report submitted by the Title IX

Investigator “will contain factual findings and a recommendation of responsibility as to the

original claim and/or any lesser offense.” Ibid.

197.   The investigation phase under the Sexual Misconduct Policy is limited to the Title IX

Investigators’ investigation of the complaint, including the acquisition of evidence relevant to the



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complaint, the evaluation of the evidence acquired, and the preparation of a report analyzing the

evidence, followed by a recommendation of responsibility to the AVPSA/Dean of Students.

198.   The Sexual Misconduct Policy limits the Title IX Investigators to the investigation, itself.

The Title IX Investigators have no authority to obtain information on the academic standing of

the parties, their educational aspirations, the financial obligations they may have incurred to

attend Stonehill, the implications of a given sanction on their ability to continue their education,

their involvement in community activities or extracurricular activities, or any other such matters.

The Sexual Misconduct Policy makes it clear that obtaining such information is the

responsibility of the AVPSA/Dean of Students because only the AVPSA/Dean of Students has

the authority to devise and impose sanctions.

       D. Adjudication and Sanction—AVPSA/Dean of Students

199.   The Sexual Misconduct Policy states that, after receiving the report from the Title IX

Investigator, the Associate Vice President for Student Affairs/Dean of Students “will determine

if the facts gleaned in the investigation do indeed align with the findings offered by the

Investigator and will then issue a formal decision in the matter, including sanctions.“ Ibid. The

Sexual Misconduct Policy terms the AVPSA/Dean of Student’s decision as the “initial

outcome”.

200.   The Sexual Misconduct Policy states that the Complainant and the Respondent will be

notified of the initial outcome and that, “[t]he notice of outcome will include the outcome, [and]

the reason for the outcome” Ibid.

201.   The Sexual Misconduct Policy provides that the AVPSA/Dean of Students is also

empowered to impose sanctions on the student whom the AVPSA/Dean of Students has found

“responsible.”
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202.    The Investigation and Disciplinary Process for Sexual/Gender-Based Misconduct and

Interpersonal Violence Section of the Sexual Misconduct Policy does not identify or otherwise

list the factors that the AVPSA/Dean of Students must consider or the standards the

AVPSA/Dean of Students must apply in determining the sanction to be imposed in a particular

case.

203.    In particular, the Sexual Misconduct Policy does not require the AVPSA/Dean of

Students to apply Title IX standards to assist in determining an appropriate sanction.       The

Sexual Misconduct Policy also does not require the AVPSA/Dean of Students to consider the

impact of separating the responsible party from his or her education.

204.    In particular, nowhere does the Sexual Misconduct Policy state that any student found

responsible for having engaged in any form of conduct coming within the broad definition of

“nonconsensual sexual intercourse” must be expelled with the consequence that this finding will

become a permanent part of Stonehill’s Education Record on that student.

        E.   Appellate Standards and Processes—Vice President for Student Affairs

205.    The Sexual Misconduct Policy provides that either a respondent or a complainant may

appeal “a decision resulting from a Title IX investigation no later than four business days after

receiving the decision in writing.”   The appeal must be made to the Vice President for Student

Affairs. Id. at Appeals.

206.    The Sexual Misconduct Policy lists the following grounds for an appeal:

               A. “Failure to follow the process or procedures outlined in this Policy, which

                   resulted in significant prejudice such that it impacted the outcome.   Minor

                   deviations from the designated procedures will not be the basis for sustaining

                   an appeal unless significant prejudice results.”
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                B. New Information that was not known to the parties at the time of the

                    investigation.”   Ibid.

        F.    COMPLAINTS AGAINST STONEHILL’S HANDLING OF TITLE IX
              SEXUAL HARASSMENT COMPLAINTS WERE FILED WITH THE
              DEPARTMENT OF EDUCATION/OFFICE OF CIVIL RIGHTS

207.     On or about March 2016, several complaints were pending in the Office of Civil Rights

(“OCR”) with the Department of Education (“DOE”) against Stonehill.

208.    At the time of the incident alleged against John Doe by Jane Roe, Stonehill was under

scrutiny of the OCR relating to their handling of sexual misconduct allegations on campus.

209.    Upon information and belief, Stonehill felt pressure to expedite the investigation and find

a male student responsible for sexual misconduct due to the pressure and scrutiny of the other

pending OCR investigations, and the #METOO movement, which occurred approximately one

month before Jane Roe’s complaint against John Doe.


        G.      DEPARTMENT OF EDUCATION ISSUANCE OF QUESTIONS &
                ANSWERS ON CAMPUS SEXUAL MISCONDUCT AND WITHDRAWAL
                OF 2011 Dear Colleague Letter AND 2014 Q&A.

210.    On September 22, 2017, OCR issued a Dear Colleague Letter (“2017 Dear Colleague

Letter”) which withdrew the 2011 Dear Colleague Letter and the 2014 Q&A and also issued a

Question & Answer on Campus Sexual Misconduct.

211.    OCR also noted that, “[l]egal commentators have criticized the 2011 Letter and the 2014

Questions and Answers for placing ‘improper measures upon universities to adopt procedures

that do not afford fundamental fairness.’” 2017 DCL at 1, see also, Ibid. at n. 1. It noted further

that, “[a]s a result, many schools have established procedures that do not afford fundamental

fairness.” Ibid. see also Ibid. at n. 2.

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212.    OCR noted that the 2011 Dear Colleague Letter and the 2014 Q&A had imposed

significant regulatory burdens on Title IX recipients “without affording notice and the

opportunity for public comment.” 2017 Dear Colleague Letter at 2.

213.    OCR advised that OCR had withdrawn the 2011 Dear Colleague Letter and the 2014

Q&A and that DOE “will not rely on those withdrawn documents in its enforcement of Title IX.”

Ibid.

214.    In conjunction with the 2017 Dear Colleague Letter, OCR also issued Questions &

Answers on Campus Sexual Misconduct (“2017 Q&A”). OCR determined that the 2017 Q&A

was a “significant guidance document” under 72 Fed. Reg. 3432 (Jan. 25, 2007).        See 2017

Q&A at 7.

215.    The 2017 Q&A noted that “[l]egal commentators have criticized the 2011 Letter and the

2014 Questions and Answers for placing ‘improper pressure upon Universities to adopt

procedures that do not afford fundamental fairness.’” Id. at 1, citing, Open Letter from Members

of the Penn Law School Faculty, Sexual Assault Complaints: Protecting Complainants and the

Accused Students at Universities.” Id. at 1, n.1.

216.    The 2017 Q&A noted that, “as a result [of compliance with the 2011 Dear Colleague

Letter and 2014 Q&A], many schools have adopted procedures for resolving allegations that

‘lack the most basic elements of fairness and due process, are overwhelmingly stacked against

the accused, and, are in no way required by Title IX law or regulation.’” Id. at 1, citing,

statement of 28 members of the Harvard Law School faculty; citing also, the ABA Criminal

Justice Section Task Force on Due Process Rights and Victim Protections, Recommendations for

Colleges and Universities in Resolving Allegations of Campus Sexual Misconduct (2017), the



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American College of Trial Lawyers, Task Force on Response of Universities and Colleges to

Allegations of Sexual Violence, White Paper on Campus Sexual Assault (2017). Id. at n. 2.

217.   The 2017 Q&A found that the 2011 Dear Colleague Letter and the 2014 Q&A had “led to

the deprivation of rights for many students—both students denied fair process and victims denied

an adequate resolution of their complaints.” Id. at 1-2.

218.   The 2017 Q&A advised Title IX recipients that “[w]hen a school applies special

procedures in sexual misconduct cases, it suggests a discriminatory purpose and should be

avoided.” Id. at 5, n. 19.

219.   Where Title IX recipients were considering the issuance of “interim measures” pending

the investigation, evaluation, adjudication, and resolution of a sexual harassment complaint, the

220.    Q&A required that the interim measures be “individualized and appropriate [and] based

on the information gathered by the Title IX Coordinator, making every effort to avoid depriving

a student of his or her education.” Id. at 3.

221.   The 2017 Q&A advised that there was “no fixed time frame under which a school must

complete a Title IX investigation.” Id. at 3.

222.   The 2017 Q&A provided that, “[i]n every investigation conducted under the school’s

grievance procedure, the burden is on the school—not on the parties—to gather sufficient

evidence to reach a fair, impartial, determination as to whether sexual misconduct occurred and,

if so, whether a hostile environment has been created that must be redressed.”   Id. at 4.

223.   The 2017 Q&A required that the investigation result in the production of a “written report

summarizing the relevant exculpatory and inculpatory evidence” and required that “[t]he

reporting and responding parties and appropriate officials…have timely and equal access to any



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information that will be used during informal and formal disciplinary meeting and hearings.” Id.

at 4.

224.    The 2017 Q&A provided that “[t]he investigators or separate decision-makers, with or

without a hearing, must make findings of fact and conclusions as to whether the facts support a

finding of responsibility for violation of misconduct, a decision should be reached separately as

to each allegation of misconduct.”      Id. at 5.

225.    The 2017 Q&A required that “[t]he decision-makers must offer each party the same

meaningful access to any information that will be used during the formal or informal disciplinary

meetings and hearings, including the investigation report.” Id. at 5.

226.    The 2017 Q&A required Title IX recipients to “prevent institutional interests from

interfering with the impartiality of the adjudication.” Id. at 5.

227.    When Title IX recipients impose sanctions on the responsible party, the 2017 Q&A

provided that, “[d]isciplinary sanction decisions must be made for the purpose of deciding how

best to enforce the school’s code of conduct while considering the impact of separating a student

from his or her education.” Id. at 6.

228.    The 2017 Q&A required that, “[a]ny disciplinary decision must be made as a

proportionate response to the violation.”           Ibid., citing 34 CFR § 106.8(b), 2001 Guidance, at

(VII)(A).

229.    The 2017 Q&A reconfirmed that, “[i]n its annual security report, a postsecondary

institution must list all possible sanctions that the institution may impose following the results of

an institutional disciplinary proceeding for an allegation of dating violence, domestic violence,

sexual assault, or stalking.” Ibid, citing, 34 C.F.R. § 668.46(k)(1)(iii).



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230.   The 2017 Q&A required that Title IX recipients provide “written notice of the outcome

of disciplinary proceedings to the reporting and responding party concurrently.”           It provided

further that the “notification must include any initial, interim, or final decision by institution; any

sanctions imposed by the institution; and rationale for the result and the sanctions.” Ibid.

231.   On information and belief, Stonehill was aware of and had reviewed the 2017 Q&A

before issuing its revision of the Sexual Misconduct Policy on December 5, 2017. Even so,

Stonehill largely ignored the 2017 Q & A.

       H.      STONEHILL’S TITLE IX INVESTIGATION                             OF     JANE      ROE’S
               ACCUSATION AGAINST JOHN DOE

232.   By e-mail dated November 27, Shayla Jordan, Title IX Investigator, advised John Doe

that she and David Bamford, also a Title IX Investigator, had been appointed to investigate Jane

Roe’s complaint.

               1.      Title IX Investigators’ Interview of Jane Roe

233.   On information and belief, on November 29, 2017, the Title IX Investigators interviewed

Jane Roe.

234.   The Title IX Investigators did not provide John Doe with prior notice that they had

scheduled an interview with Jane Roe.

235.   The Title IX Investigators did not provide John Doe with the opportunity to submit

questions that the Title IX Investigators would pose to Jane Roe.

236.   At the time the Title IX Investigators interviewed Jane Roe, they had not yet provided

John Doe with a copy of the charge that Jane Roe had brought against John Doe or any summary

of the charge, including the Krentzman Memo to File of November 21, 2017.




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237.    The Title IX Investigators later summarized their interview with Jane Roe in the Parts 1

and 2 of the Final Report that they prepared for the AVPSA/Dean of Students. Based on that

summary, on information and belief, at their meeting on November 29, 2017, the Title IX

Investigators advised Jane Roe of the following:

             A. that they had a copy of the written statement of the incident that Jane Roe had

                provided to Krentzman;

             B. that they had determined that Jane Roe’s allegation against John Doe came within

                the Sexual Misconduct Policy; and

             C. that John Doe would be allowed to see a copy of Jane Roe’s written statement.

238.    Also based on Parts 1 and 2 of the Final Report and on information and belief, Jordan

asked Jane Roe to tell her and Bamford “about the incident that led to the complaint against

[John Doe].” On information and belief, Jane Roe responded to Jordan’s question by saying that

“her written statement contained her account of the incident and that she preferred not to re-tell

the details of the incident.”

239.    Also based on Parts 1 and 2 of the Final Report and on information and belief, Jane Roe

made the following oral statements to the Title IX Investigators about her pre-incident social and

sexual experience with John Doe:

        A.      That, although she had known John Doe before the incident, they were only

                “surface level friends” and that “she would say ‘hello’ if they saw each other on

                the campus.”

        B.       That she had “made out” with John Doe on “two occasions” in her dormitory

                 room and that those occasions had occurred in late September or early October;



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240.   Based on Parts 1 and 2 of the Final Report and on information and belief, Jane Roe made

the following oral statements to the Title IX Investigators about the night of the incident:

           A. That she had been at New Hall earlier in the evening;

           B. That before she returned to her room at O’Hara Hall, she had been drinking

               alcoholic beverages and that, by the time she returned to her room, she was drunk

               and that she placed herself as a “six” on an intoxication scale of one to ten;

           C. That either in her first interview by the Title IX Investigators on November 29,

               2017 or in her second interview on December 28, 2017, Jane Roe asserted that

               before and during her November 19 encounter with John Doe, she was intoxicated

               to the point of incapacitation within the meaning of the Sexual Misconduct Policy

               and, therefore, irrespective of her actions that evening, could not have consented

               to any kind of sexual relations with John Doe;

           D. That she had returned to her room at O’Hara Hall at about 1:15 a.m.;

           E. That “she confirmed” that John Doe knocked on the door of her dormitory room;

               and

           F. That, based on John Doe’s messages to her, she believed that he, too, had been

               drinking alcoholic beverages and that, on the same ten point scale of intoxication,

               she believed that he was a “one” or a “two” but that she did not observe anything

               in his behavior to indicate that John Doe had been drinking.

241.   Based on Parts 1 and 2 of the Final Report and on information and belief, Jane Roe made

the following oral statements about her sexual encounter with John Doe:

           A. That she began to “cry, hyperventilate, and pretend to ‘fall asleep’” and that after

               she took these actions, John Doe “left quickly.”
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242. Based on Parts 1 and 2 of the Final Report and, on information and belief, Jane Roe made

the following oral statements about the messages she and John Doe exchanged later in the

morning of November 19:

             A. That she and John Doe communicated by Snapchat;

             B. That she “was able to save two of the messages;”

             C. That the remainder of the messages “disappeared” when John Doe blocked her

                and that she believed that John Doe blocked her in response to the “campus ‘no

                contact order;”

             D. That she provided the Title IX Investigators with screenshots of two Snapchat

                messages that John Doe had sent her later in the morning of November 19; and

             E. That the two Snapchat messages were part of a “back and forth” between Jane

                Roe and John Doe in which he also wrote, “I’m sorry, what can I do?” to which

                she responded with a message to the effect that, “you hurt me, sorry, can’t change

                that.”

243.   Based on Parts 1 and 2 of the Final Report and on information and belief, the Title IX

Investigators complied with Jane Roe’s desire not to inquire into any of the details of her sexual

encounter with John Doe.          Instead, they asked questions about Jane Roe and John Doe’s

relationship before the incident and their communications after the incident.

244.   By complying with Jane Roe’s desire on this point, the Title IX Investigators effectively

limited themselves to the Memo to File that Krentzman had prepared of Jane Roe’s written

statement.




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245.   Based on Parts 1 and 2 of the Final Report and, on information and belief, at the

November 29 meeting, Jane Roe provided the Title IX Investigators with a Snapchat log

“indicating her account activity” but that the log did not contain “specific messages or images.”

                 2.   Basis for Title IX Investigators’ Failure to Provide John Doe with Prior
                      Notice of their Interview of Jane Roe and their Failure to Provide him
                      with any Version of Jane Roe’s Charge against him until after the Title
                      IX Investigators had Interviewed Jane Roe.

246.   On information and belief, before the Title IX Investigators arranged with Jane Roe to

meet with them, they had reviewed the Krentzman Memo to File.

247.   On information and belief, the Title IX Investigators understood that Jane Roe had

declined to discuss with Krentzman the details of the sexual misconduct Jane Roe had charged

against John Doe.

248.   On information and belief, before their meeting with Jane Roe, the Title IX Investigators

decided that, if Jane Roe declined to answer their questions about the details of sexual

misconduct she had charged against John Doe, they would comply with her desire on this point

and would not question her about it.

249.   On information and belief, the Title IX Investigators knew that, under the Sexual

Misconduct Policy, they were required to provide John Doe with prior notice of their interview

with Jane Roe.

250.   On Information and belief, the Title IX Investigators knew that they must also provide

John Doe with the opportunity to submit questions which he would ask them to pose to Jane Roe.

251.   On information and belief, the Title IX Investigators knew that, in order to make it

possible for John Doe to prepare informed questions for them to pose to Jane Roe, they would




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have to provide him with a copy of some version of Jane Roe’s charge against him, including the

Krentzman Memo to File.

252.   On information and belief, the Title IX Investigators knew that Jane Roe and John Doe

were the only witnesses to the sexual interaction between them.

253.   On information and belief, the Title IX Investigators knew that John Doe was likely to

submit questions about the nature, extent, and timing of the sexual interaction between Jane Roe

and John Doe as well as how and when Jane Roe consented to his sexual stimulation of her.

254.   On information and belief, because the Title IX Investigators had determined that they

would not ask questions of Jane Roe about the sexual misconduct she had charged against John

Doe, they did not want John Doe to pose questions to Jane Roe about their sexual interaction on

the night in question.

255.   On information and belief, the Title IX Investigators wanted to avoid having to choose

between posing questions to Jane Roe about John Doe’s alleged sexual misconduct, or declining

to pose John Doe’s questions about the alleged sexual misconduct.

               3.        Title IX Investigators’ Interview of John Doe

256.   By email dated November 30, Jordan asked John Doe for dates on which she and

Bamford could interview him. John Doe and the Title IX Investigators agreed that they would

interview John Doe on December 8, 2017.

257.   On information and belief, the Title IX Investigators provided Jane Roe with notice of the

interview they had scheduled with John Doe and provided her with the opportunity to submit

questions beforehand which they could pose to John Doe.

258.   John Doe retained Joseph Baldacci, Esq. of Bangor, Maine to assist him in responding to

Jane Roe’s charge.
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259.   On December 8, John Doe and Attorney Baldacci met with Jordan and Bamford. No

other person was present.     On information and belief, the meeting was not recorded, though

Jordan and Bamford appeared to take notes.

260.   The Title IX Investigators advised John Doe that they had already interviewed Jane Roe.

261.   John Doe had brought a written statement with him to the meeting with the Title IX

Investigators and read the statement verbatim to Jordan and Bamford.

262.   In his statement, John Doe made the following statements about his pre-incident

relationship with Jane Roe:

              A. That he and Jane Doe had met before the start of the Fall 2017 Semester;

              B. That they had a friendly relationship which included Snapchat and text

                  messages;

              C. That Jane Doe would sometimes tell John Doe that she was “nervous and or

                  scared;”

              D. That Jane Roe told him that she had accused another Stonehill student of

                  sexually assaulting her and that student was still at the school;

              E. That on occasions prior to the November 19 incident, Jane Roe had invited

                  John Doe to her room and that they had kissed and John Doe had “finger[ed]”

                  her and that, “occasionally [Jane Roe] had asked [John Doe] to stop” which he

                  did.

263.   John Doe provided the Title IX Investigators with the following account of the evening of

November 18-19, 2017:

              A. That on the night of November 18, Jane Roe sent a message to John Doe that

                  she was scared to walk back to her dormitory and John Doe responded by
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                  saying that he would walk her back. She then said that she was walking back

                  by herself;

               B. That John Doe responded to this message by asking if she was “ok” and

                  telling her that he was on his way;

               C. That John Doe went to Jane Roe’s dormitory, knocked on Jane Roe’s door,

                  she opened the door, and, she invited him into her room;

               D. That they laid down on Jane Roe’s bed and talked and, after a while, John Doe

                  began “fingering” Jane Roe;

               E. That John Doe asked Jane Roe if she liked what he was doing and, although

                  Jane Roe did not answer, she “rolled over from her stomach to her back

                  toward [John Doe] and was cuddling [him];”

               F. That at no point did Jane Roe “pull away, ask [John Doe] to stop” “or protest

                  in any manner;”

               G. That [a]fter about a minute, [John Doe] stopped because [Jane Roe] was not

                  responding to [his] questions;

               H. When John Doe stopped, Jane Roe “rolled on her side and curled up in a fetal

                  position” and this “scared and shocked [him];”

               I. That John Doe asked Jane Roe if she was “ok” and she said, “It’s not you. It’s

                  ok;”

               J. That Jane Roe then “rolled onto her back, closed her eyes, and went to sleep,”

                  at which point John Doe left.

264.   John Doe made the following statement about communications with Jane Roe after their

sexual intimacy of earlier that morning:
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                A. That later that morning, Jane Roe sent John Doe a message in which she

                   “seemed to be upset” and John Doe responded by saying “whatever I thought

                   would make her feel better” which included John Doe “saying ‘I’m sorry;’

                B. That when he told Jane Roe he was “sorry”, John Doe meant that he was

                   “empathetic towards her and sorry that [Jane Roe] felt that way;” and

                C. That since that exchange of messages, John Doe had no further

                   communication with Jane Roe.

265.     The Title IX Investigators advised John Doe that Jane Roe had identified a witness,

Witness No. 2, who, Jane Roe believed would confirm that John Doe was, in fact, in O’Hara Hall

at Jane Roe’s door on the night in question but that, because John Doe had acknowledged that he

was in Jane Roe’s room that night, they were not certain that they needed to interview Witness

No. 2.

266.     John Doe told the Title IX Investigators that on the evening of November 18, he was in

the company of Witness No. 1 and that he was with Witness No. 1 when he received Jane Roe’s

Snapchat message asking for his assistance in walking from New Hall to O’Hara Hall.        He said

that Witness No. 1 would confirm that John Doe had not been drinking that night. During this

interview, John Doe was told by investigators that based upon this information they would not

need to interview Witness No. 2.

267.     When John Doe advised the Title IX Investigators that Witness No. 1 had been in his

company until shortly before John Doe left to meet Jane Roe and that Witness No. 1 would

confirm that John Doe had not been drinking alcohol beverages on the night of the incident, the

Title IX Investigators indicated that they were not certain that they would interview Witness No.



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1. John Doe believed that Title IX Investigators did not plan to interview either Witness No. 1 or

Witness No. 2.

                 4.   Stonehill’s Issuance of Revised Sexual Misconduct Policy

268.   By e-mail dated December 6, Jordan forwarded the revised S1.14 Opposition to Sexual

and Gender-Based Misconduct and Interpersonal Violation Policy (“December 2017 Sexual

Misconduct Policy”) to John Doe and Attorney Baldacci.        Jordan advised that the new policy

contained changes that “pertain[ed] to the timeframes for the process (page 18) and the parties’

rights to review pertinent evidence and investigation report (page 21).”         Although Jordan

referred to the revised policy as though it had been paginated, it had not been paginated.

269.   The December 2017 Sexual Misconduct Policy set forth time frames within which

complaints of conduct violating the Policy would be resolved. Exhibit C, December 2017 Sexual

Misconduct Policy, The Investigation and Disciplinary Process for Sexual/Gender-Based

Misconduct and Interpersonal Violence.

270.   The December 2017 Sexual Misconduct Policy provided that, “[w]hile the College

endeavors to follow [pre-set] timeframes, the fairness and thoroughness of the process is

paramount.” Ibid.

271.   The December 2017 Sexual Misconduct Policy also included a new right listed among

the “rights” afforded to complainants and respondents which provided that, “[t]he College

assures all students involved in incidents of sexual/gender-based misconduct or interpersonal

violence will (10) Be allowed to review and respond to the investigative report before it is

submitted to the Assistant Vice President for Student Affairs/Dean of Students.” Id. at Statement

of Rights for those Involved in Incidents of Sexual/Gender-Based Misconduct or Interpersonal

Violence.
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272.   In her December 6, 2017 e-mail, Jordan did not state whether Stonehill took the position

that the December 2017 Sexual Misconduct Policy now governed the investigation of Jane Roe’s

complaint or whether, because the alleged misconduct occurred before the issuance of the new

Policy, the June 2017 Sexual Misconduct Policy governed Jane Roe’s complaint.

273.   On information and belief, the Title IX Investigators considered that the new “right”

enumerated at Number 10 in the list of rights Stonehill extended to complainants and

respondents, as set forth in the December 2017 Sexual Misconduct Policy, applied to their

investigation of Jane Roe’s claim and that they were required to ensure that Jane Roe and John

Doe were accorded this right.

              5.      Title IX Investigators’ Interview of Witness No. 1

274. Based on Parts 1 and 2 of the Final Report and on information and belief, on or about

December 13, 2017, the Title IX Investigators interviewed Witness No. 1.

275. On information and belief, the Title IX Investigators provided Jane Roe with prior notice

of their interview with Witness No. 1 and provided her with the opportunity to submit questions

for the Title IX Investigators to pose to Witness No. 1.

276. The Title IX Investigators did not provide John Doe with prior notice that they had

scheduled an interview with Witness No. 1.

277. The Title IX Investigators did not provide John Doe with the opportunity to submit

questions to Witness No. 1.

278. Based on Parts 1 and 2 of the Final Report and on information and belief, Witness No. 1

made the following statements and representations to the Title IX Investigators:

           A. That he was with John Doe at Corr Hall, John Doe’s dormitory, on the evening of

              November 18 from 9:00 p.m. and that at about 10:30 p.m., they left Corr Hall and
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               went to The Courts, a recreational area on campus surrounded by town-home type

               residences.


           B. That at about 11:45 p.m., John Doe received a message and then told Witness No.

               1 that he had to leave because he was meeting a friend.

           C. That Witness No. 1 does not drink alcoholic beverages and that, while John Doe

               was in his company that night, John Doe did not drink alcoholic beverages, either.

               And that, when John Doe left his company that night, he was “straight.”

               6.         Title IX Investigators’ Interview of Witness No. 2

279.   By e-mail dated December 14, 2017, Bamford advised John Doe that he and Jordan had

decided to interview Witness No. 2, noting that Jane Roe had identified Witness No. 2 to the

Title IX Investigators.

280.   As alleged above, in the meeting on December 8, Bamford and Jordan had told John Doe

that Jane Roe had identified Witness No.2 as being able to confirm that John Doe was in O’Hara

Hall that night but that, since John Doe had acknowledged that he was there that night, they did

not believe that they needed to interview Witness No. 2.

281.   In his December 14 e-mail, Bamford did not explain why he and Jordan had decided to

interview Witness No. 2; in particular, he did not state that they had decided to interview her on

some subject or subjects other than her ability to confirm that John Doe was in O’Hara Hall on

the night in question.

282.   In his December 14, 2017 e-mail, Bamford did not reveal to John Doe when he and

Jordan would be interviewing Witness No. 2.           John Doe later learned that the Title IX




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Investigators had interviewed Witness No. 2 on the same day Bamford notified John Doe of their

decision to interview Witness No. 2.

283.   On information and belief, the Title IX Investigators provided Jane Roe with prior notice

of their decision to interview Witness No. 2 and provided Jane Roe with the opportunity to

submit questions for the Title IX Investigators to pose to Jane Roe.

284.   Based on Parts 1 and 2 of the Final Report and on information and belief, the Title IX

Investigators interviewed Witness No. 2 on December 14, 2017 and Witness No. 2 provided

them with the following information:

               A. That she recalled John Doe being at Jane Roe’s residence hall door on the

                   night in question but did not recall the time, but it was late at night;

               B. That she saw John Doe at Jane Roe’s door and heard him knock on the door;

               C. That she did not interact with John Doe and was not able to say whether he

                   was intoxicated or not, but that he “was standing up fine;”

               D. That she entered the room of a friend and, when she emerged into the corridor

                   a few minutes later, John Doe was no longer in the corridor and she did not

                   know where he had gone;

               E. That later that morning, Witness No. 2 had seen Jane Roe and made a

                   comment to her about John Doe having been at Jane Roe’s door earlier that

                   morning;

               F. That “about a week before,” Witness No. 2 had spoken with Jane Roe about

                   Jane Roe and John Doe but that Witness No. 2 “had no other information.”




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               7.        Title IX Investigators Notice to John Doe that Investigation was
                         Closed/Status of Investigation.

285.   By e-mail dated December 20, 2017, on which Jordan copied Bamford, Jordan advised

John Doe that she and Bamford had “concluded the interview phase of our investigation” and

that, “[a]s a next step, we would like to meet and review the case before we create our

investigative report.”

286.   The Sexual Misconduct Policy separates the fact-finding phase of an investigation,

including interviews, from the post-investigation review of facts with the complainant and the

respondent.    Exhibit A at The Investigation and Disciplinary Process for Sexual/Gender-Based

Misconduct and Interpersonal Violence; see also, Id. at Statement of Rights of those Involved in

Incidents of Sexual/Gender-Based Misconduct or Interpersonal Violence.

287.   Jordan’s December 20 e-mail to John Doe was, therefore, required by and sent in

accordance with the Sexual Misconduct Policy which provides that, “[u]pon completion of the

investigation, the Investigator will offer to meet with the complainant and respondent separately

to discuss (post finding but before a recommendation has been made with regard to

responsibility) the facts gleaned in the matter and to offer a final opportunity for the parties to

ensure that both have been afforded the opportunity to present all relevant witnesses and

evidence before the finding is reached.”   Ibid.

288.   On information and belief, when the Title IX Investigators sent the December 20 e-mail

to John Doe, they knew that the Sexual Misconduct Policy did not provide for an “interview

phase” of an investigation and that, in fact, they were advising John Doe that the investigation,

including interviews, had been completed and that the Title IX Investigators would soon be

preparing a report. Ibid.      They also knew that, based on the Sexual Misconduct Policy’s

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description of the investigative and evaluative process, John Doe would understand their

December 20 e-mail as stating that the investigation was complete.

289.   On information and belief, when the Title IX Investigators advised John Doe that the

“interview phase” of the investigation was complete, they knew that neither the “interview”

phase nor the investigation, itself, was complete.       To the contrary, they knew that their

interviews with Jane Roe, John Doe had revealed material discrepancies between Jane Roe and

John Doe’s account of their pre-incident social relationship and degree of sexual intimacy and

that, because they had failed to provide John Doe with the required notice of their interview with

Jane Roe and had also failed to provide him with a copy of the Memo to File before their

November 29 interview of Jane Roe, they had not presented Jane Roe with John Doe’s assertion

that, before the incident, they had a significant social relationship and that, on at least two or

three occasions, they had been sexually intimate in the same manner and to the degree as they

had been in the course of the incident of which Jane Roe had complained.

290.   In particular, on information and belief, as of December 20, the Title IX Investigators

knew that, at the time they advised John Doe that they had closed the investigation, they knew

that the following discrepancies between Jane Roe’s November 29 account and the Memo to

File, and John Doe’s December 8 account, remained unresolved as reflected in the following

excerpts of the Memo to File:

           A. In her interview with the Title IX Investigators, Jane Roe had asserted that she

               and John Doe had never been more than “surface level” friends—someone she

               would say “hello” to if she saw him on campus and that in the Memo to File she

               had mentioned nothing about their pre-incident social relationship, but John Doe

               had asserted that they had gotten together on several occasions—some of them in
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               Jane Roe’s dormitory room at O’Hara              Hall—and that they frequently

               communicated by social media, particularly, Snapchat.

           B. In the Memo to File and, on information and belief, in her November 29 interview

               with the Title IX Investigators, Jane Doe had asserted that she and John Doe had

               “only made out sober twice” in her dormitory room. Whereas, John Doe asserted

               that they had a significant pre-incident social relationship which had eventually

               progressed to the point where, on several occasions before the incident, they had

               engaged in the same level of sexual intimacy that they both agreed had occurred

               on the night in question.

291.   On information and belief, the Title IX Investigators understood that the discrepancies

between Jane Roe and John Doe’s accounts of their pre-incident social relationship and their pre-

incident sexual relationship, were material. In particular, on information and belief, the Title IX

Investigators knew that, if Jane Roe was correct and the degree of sexual intimacy between them

in the early morning hours of November 19 was the first time they had had that degree of sexual

intimacy, then Jane Roe’s assertion that, when John Doe “brushed [her] vagina”, she was

“shocked, startled, and taken aback” would likely have warranted credence. On information and

belief, they also understood that, if John Doe was correct about the degree and frequency of their

pre-incident sexual intimacy, Jane Roe’s assertion would likely have warranted less credence and

might warrant no credence at all.

292.   On information and belief, the Title IX Investigators also understood that, if John Doe

was right about their pre-incident degree of intimacy, it would have also raised broader and

serious questions about the reliability of Jane Roe’s accusation.



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293.   On information and belief, from their training and experience, the Title IX Investigators

understood that in a dispute over whether both parties have consented to sexual activity it is rare

that there are ever more than two witnesses—the complainant and the respondent—to the sexual

activity itself, and that, therefore, they must investigate instances in which the credibility of the

parties may be tested over points in dispute.

294.   On information and belief, the Title IX Investigators understood that they could not

complete their investigation and prepare their report without attempting to determine whether

Jane Roe or John Doe was telling the truth about their pre-incident experiences with sexual

intimacy and that, therefore, at the very least, they would have to interview Jane Roe once again

and present John Doe’s assertions to her.

295.   On information and belief, at the outset of the investigation, the Title IX Investigators had

decided that they would not provide John Doe with notice of any interview they would conduct

with Jane Roe, and that their decision on this point, although inconsistent with and in violation of

the standards and procedures of the Sexual Misconduct Policy, it was consistent and in

conformity with Stonehill’s unpublished policy.

296.   In order to complete the investigation by conducting a second interview with Jane Roe

without alerting John Doe to the second interview and providing him with the opportunity to

submit potentially detailed questions to the Title IX Investigators to pose to Jane Roe, the Title

IX Investigators misled John Doe into believing that they would be conducting no more

interviews and further interactions with Jane Roe would be limited to a “review of case facts,”

preliminary to their creation of the investigative report.

297.   Based on Parts 1 and 2 of the Final Report and on information and belief, on December

28, 2017, the Title IX Investigators met with Jane Roe for the second time.
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298.   Based on Parts 1 and 2 of the Final Report and on information and belief, in that meeting,

the Title IX Investigators did not confine their meeting to “review of the case facts,” as they

represented in their December 20, 2017 E-mail, nor did they confine their meeting to

“discuss…the facts gleaned in the matter” and to offer Jane Roe “the opportunity to present all

relevant witnesses and evidence before a finding is reached.” ExhibitA, The Investigation and

Disciplinary Process for Sexual/Gender-Based Misconduct and Interpersonal Violence.

299.   Based on Parts 1 and 2 of the Final Report and on information and belief, the Title IX

Investigators used the December 28 meeting with Jane Roe as a second interview in which they

presented her with John Doe’s assertions about their pre-incident social and sexual relationship

and posed questions to her based on John Doe’s assertions.

300.   Based on Parts 1 and 2 of the Final Report and on information and belief, when

confronted with John Doe’s assertions, Jane Roe recanted the statement that she made in her

November 29 meeting with the Title IX Investigators that, before the November 19 incident, she

and John Doe had not been more than “surface level friends” and they had only “made out sober

twice” and admitted that she and John Doe had been close friends, and that on at least two

occasions and possibly more, she and John Doe had engaged in the very same level of sexual

activity as was the subject of her complaint.

301.   On information and belief, the Title IX Investigators knew that Jane Roe was relying on

her assertion that she was intoxicated to support her contentions as to the following points:

               A. That she was “too drunk” to engage in sexual activity and that twice she told

                   John Doe that she did not want to engage in sexual activity because she was

                   drunk;



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               B. That the level of intoxication she claimed, six on a ten-point scale, implied

                    that John Doe could not have failed to realize that she was intoxicated;

               C. That her level of intoxication was such that she was “too drunk to fight [John

                    Doe] off;”

               D. That her level of intoxication might explain why, faced with a reportedly

                    aggressive sexual assault, she did not call for help but, rather, cried,

                    hyperventilated, and pretended to fall asleep; and

               E. That either in her first interview of November 29, 2017, or her second

                    interview of December 28, 2017, she asserted that before and during her

                    November 19, 2017, encounter with John Doe, she was intoxicated to the

                    point of incapacity within the meaning of the Sexual Misconduct Policy.

302.   Based on Parts 1 and 2 of the Final Report and on information and belief, the Title IX

Investigators also knew that, although the Memo to File stated that Jane Roe claimed that she

was intoxicated before and during her encounter with John Doe, John Doe had told the Title IX

Investigators that said she did not appear to have been drinking alcoholic beverages at all.

303.   Because the Title IX Investigators knew that Jane Roe was relying on her alleged state of

intoxication to explain her unwillingness to engage in sexual activity with John Doe; her inability

to resist John Doe’s sexual advances; her failure to more effectively resist John Doe or seek

assistance from other dormitory residents; and, excuse herself of any responsibility whatsoever

through her claim of incapacitation, they had a duty to investigate and determine whether Jane

Roe was, in fact,     intoxicated on the evening of November 18-19, 2017.             The Title IX

Investigators did not conduct such an investigation.



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304.   On information and belief, the Title IX Investigators knew Jane Roe had asserted that,

earlier on in the evening of November 18-19, 2017, she had been at New Hall and that she had

consumed alcohol there.

305.   On information and belief, the Title IX Investigators knew that Jane Roe was not yet 21

years of age and that her admission that she had been drinking alcohol at New Hall constituted a

violation of the Student Conduct Code.

306.   On information and belief, the Title IX Investigators knew that, even though Jane Roe

had asserted that she had attended a social event at New Hall, had consumed alcohol there, and,

had become “drunk” or incapacitated, she had not identified a single witness who could confirm

that she had been at New Hall, had consumed alcohol there, and by the time she left, had become

“drunk” or incapacitated.

307.   On information and belief, the Title IX Investigators knew that they could determine

whether Jane Roe had been consuming alcohol on the evening of November 18-19, 2017 and, if

so, whether she was “drunk” as she claimed, or “incapacitated” as she claimed, by asking Jane

Roe to identify witnesses who would confirm that she was at New Hall on the evening of

November 18-19, 2017; that she had consumed alcohol at New Hall; that she had become

intoxicated, and that her state of intoxication was evident.

308.   On information and belief, the Title IX Investigators knew that if Jane Roe could not

identify any such witness or witnesses, it would shed doubt on her assertions that she had

become incapacitated by alcohol. It could also shed doubt on her assertion that she had

consumed any alcoholic beverages on the evening of November18-19 2017.

309.   On information and belief, the Title IX Investigators knew that, even if Jane Roe failed to

identify any witnesses who could confirm her claims of alcohol consumption, visible
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intoxication, or, even incapacity, they, themselves, could seek information on the activities at

New Hall on the evening of November 18-19, 2017, and determine if any witnesses remembered

Jane Roe attending the New Hall event, whether they remembered her consuming alcohol,

whether they remembered whether she had become either “drunk” or incapacitated.

310.   On information and belief, at all times the Title IX Investigators knew that investigating

Jane Roe’s assertions as to her pre-incident alcohol consumption and state of intoxication would

not be difficult and was extremely important to properly assess her credibility, as well as the

credibility of John Doe’s assertion that she did not appear to have been drinking alcoholic

beverages on the night of the incident.

311.   On information and belief, the Title IX Investigators made a deliberate decision not to

investigate Jane Roe’s claims of alcohol consumption and intoxication because they were

concerned that their investigation would reveal evidence that would disprove or significantly

undermine Jane Roe’s claims on all these points.

312.   On information and belief, the Title IX Investigators also knew that, according to Jane

Roe, herself, as documented in the Memo to File, she had spoken to a person she described as

her former boyfriend as she was walking from New Hall to O’Hara Hall on the late evening-

early morning of November 18-19, 2017.

313.   On information and belief, the Title IX Investigators knew that the person, if the person

with whom Jane Roe spoke was, in fact, her former boyfriend, would be familiar with her

manner of speech and how she expressed herself; and that he would likely have been able to tell

whether, in the course of their conversation, he detected any evidence in her speech that she

appeared to be under the influence of alcohol and, if so, whether she appeared to be mildly or

seriously impaired.
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314.    On information and belief, the Title IX Investigators also knew that it was possible that,

in the course of their conversation, Jane Roe had mentioned what she had been doing that

evening and might have made references to her consumption of alcohol, whether or not she was,

in fact, intoxicated.

315.    On information and belief, the Title IX Investigators also knew that the substance of the

conversation between Jane Roe and her former boyfriend might be relevant to her alleged

unwillingness to become sexually intimate with John Doe or, in the alternative, might have

caused her to regret having been sexually intimate with John Doe after having consented to such

intimacy.

316.    On Information and belief, the Title IX Investigators also knew that, if Jane Roe had

consented to sexual intimacy with John Doe and had, during or after that sexual intimacy come

to regret that intimacy, it could explain Jane Roe’s comment to John Doe, as John Doe related to

the Title IX Investigators in his December 8 interview, that, “It’s not you. It’s ok.”

317.    On information and belief, the Title IX Investigators also understood that if they pressed

Jane Roe for the identity of the person she called it would also be possible that she would have

no name and that, in fact, the call never occurred.

318.    On information and belief, the Title IX Investigators at all times knew that the person

whom Jane Roe said she called possessed information important to either corroborating or

disproving certain material aspects of the statement attributed to her in the Memo to File and

made a conscious and deliberate decision not to seek that information.

319.    On information and belief, the Title IX Investigators at all times knew and understood

that if Jane Roe spoke to her former boyfriend and later consented to sexual intimacy with John

Doe, it could explain John Doe’s assertion that, when Jane Roe began physically withdrawing
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from him and he asked her what was wrong, she responded by saying, “It’s not you.        It’s ok”

and that, therefore, the Investigators made a conscious and deliberate decision to omit John

Doe’s assertion out of the Final Report.

       8. Notice to John Doe of Conclusion of Investigation and Request for Meeting to
          Review Facts.

320.   In response to Jordan’s e-mail of December 20, 2017, John Doe forwarded an E-mail

dated December 27, in which John Doe advised that he was not in Massachusetts and that

Attorney Baldacci was out of the country. John Doe advised that he needed to speak to Attorney

Baldacci, but that he was willing to review the facts with the Title IX Investigators over the

telephone.

       9. Title IX Investigators’ Second Interview of Jane Roe/Review of Facts

321.   On information and belief, at or about the same time Title IX Investigator Jordan notified

John Doe that the investigation was complete, and that Title IX Investigators wanted to meet

with John Doe to review the facts, the Title IX Investigators sent a similar notification and

request to Jane Roe.

322.   On information and belief, when the Title IX Investigators advised John Doe that they

had closed the investigation, they knew that they had not resolved the discrepancy between Jane

Roe’s assertion that, before the incident, she had only a “surface friendship” with John Doe and

had only “made out sober” with him on two occasions, and John Doe’s assertion that they had

engaged in an extensive social interaction including prior instances of sexual intimacy at the

same level and under the same circumstances as the allegedly nonconsensual sexual intimacy

they were investigating.




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323.      In short, on information and belief, when the Title IX Investigators advised John Doe that

          the investigation was closed, they knew it could not be closed because they had to

          conduct a second interview with Jane Roe.

324.      Therefore, on information and belief, on or about December 28, 2017, the Title IX

Investigators met with Jane Roe and reviewed the factual information they had obtained in the

course of the investigation.

325.      Although under the Sexual Misconduct Policy, the Title IX Investigators’ meeting with

Jane Roe was required to be limited to a review of the facts that the Title IX Investigators had

developed in the course of the investigation, the Title IX Investigators conducted a further

interview with Jane Roe.

326.      The Title IX Investigators did not provide notice to John Doe that they were going to

conduct a second interview with Jane Roe, nor did they provide him with the opportunity to

submit questions to her.

327.      On information and belief, in the course of their further interview of Jane Roe, the Title

IX Investigators questioned her about the assertion in her written statement that, before the

incident in question, she and John Doe had “only made out sober twice in my room” and John

Doe’s contradiction in his December 8 interview that before that incident John Doe and Jane Roe

had been sexually intimate on other occasions and that intimacy included his digital stimulation

of her.

328.      On information and belief, during this further interview, when confronted with John

Doe’s assertion, Jane Roe retracted the assertion she had made in the written statement she had

submitted to Krentzman that she had only “made out” with John Doe and admitted that, before



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the incident in question, she and John Doe had been sexually intimate and that intimacy included

his digital stimulation of her.

329.    On information and belief, in addition to interviewing Jane Roe again, the Title IX

Investigators also reviewed their factual findings with Jane Roe.

        10. Review of Title IX Investigators’ Fact Finding with John Doe and Attorney
            Baldacci

330.    On January 12, 2018, the Title IX Investigators reviewed their factual findings with John

Doe and Attorney Baldacci by telephone.

331.    The Title IX Investigators had not provided any written materials to John Doe and

Attorney Baldacci. Instead, the Investigators read (findings that they described as “undisputed

facts” and “disputed facts”) over the telephone to John Doe and Attorney Baldacci.

332.    They advised John Doe and Attorney Baldacci that they would prepare a report of the

“undisputed facts” and “disputed facts” and forward it to them.

        11.      John Doe Review of Part 1 of Title IX Investigators’ Investigative Report

333.    By letter dated January 23, 2018 (“January 23 Letter”), the Title IX Investigators

forwarded Part 1 of the Investigative Report to John Doe and Attorney Baldacci. The January 23

Letter was a form letter that had been drafted to include information specific to the investigation

of Jane Roe’s complaint.          The January 23 Letter made the following representations and

assertions:

              A. That the Title IX Investigators had taken “seriously the responsibility to seek and

                 evaluate all available and relevant evidence.”

              B. That the Title IX Investigators Part I of the Investigative Report included

                 “information collected by the investigator(s), including interviews with the

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                Reporting Parting (sic), the Responding Party, witnesses, if any, and other

                evidentiary materials.”

             C. That John Doe had “the right to review the Investigative Report and provide any

                additional information to the investigator(s) that [John Doe] feel[s] is relevant in

                writing to the investigator(s).”    John Doe was given seven calendar days to

                provide the “additional information.”

             D. That, after seven days, the investigators “will compile a final report, including the

                investigative findings, which will be forwarded to the Dean of Students for final

                deliberation under the College’s established policies.”

334.   Part 1 of the Investigators’ Report (“Part 1 Report”) was divided into the following

sections and subsections: 1) Executive Summary; 2) Sexual Misconduct as defined by Sexual

Misconduct Policy; 3) Consent, as defined by the Sexual Misconduct Policy; 4) Incapacitation,

as defined in the Sexual Misconduct Policy; 5) Involved Parties—a) Jane Roe; b) John Doe. c)

Witness No. 1, designated as “[w]itness prior to alleged incident; and, Witness 2, designated as

“[w]itness prior to alleged incident”; 6) Procedural History; listing dates from Jane Doe’s filing

of the complaint on November 20, 2017 to January 23, 2017, the date on which the Title IX

Investigators forwarded the Part 1 Report to the parties; 7) Findings of Facts with the following

subheadings: a) Summary of Interviews with Reporting Party; b) Summary of Interviews with

Responding Party; c) Summary of Witness No. 1 Interview; and, d) Summary of Witness No. 2

Interview.

335.   The “relevant policy definitions” listed in Part 1 was incomplete because it omitted the

three relevant provisions:



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          A. It omitted definition of “Amnesty” provision, which was relevant because Jane

              Roe had asserted that she had consumed alcohol on the evening of November 18

              and she was not yet 21 years of age.      Exhibit A at Prohibited Conduct, Alcohol

              and Drugs, ¶ 5.01; Exhibit A, Statement of Rights for those Involved in Incidents

              of Sexual/Gender-Based Misconduct or Interpersonal Violence, Amnesty.

          B. It omitted the prohibition on “[a]cts of dishonesty, including but not limited to,

              furnishing false information to any faculty member, College official, or

              department..:    Exhibit A, Prohibited Conduct, § 3. Acts of Dishonesty. This

              provision applied to the investigation because John Doe denied Jane Roe’s

              charge, thus raising the question of whether Jane Roe’s charge was true, and also

              because in the charge she filed against John Doe, Jane Roe misrepresented and

              lied about their prior social and sexual history.

          C. It omitted the prohibitions on “abuse of the Student Conduct Process;” in

              particular, “[f]alsification, distortion, or misrepresentation in conjunction with the

              Student Conduct Process” and “[s]ubmitting or corroborating a false incident

              report or withholding information.” Exhibit A at Authority, §§ 7(b), (c). These

              provisions applied because John Doe denied Jane Roe’s charge, thus raising the

              question of whether Jane Roe’s charge was true, and also because in the charge

              she filed against John Doe, Jane Roe misrepresented and lied about their prior

              social and sexual history.

336.   Part 1 identified Witnesses Nos. 1 and 2 as witnesses “prior to the incident.” This

description of the two witnesses was consistent with John Doe’s understanding of Witness No.

1’s knowledge—the witness he had suggested to the Title IX Investigators—who had been with
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John Doe on the evening of November 18-19 and was also consistent with the Title IX

Investigators’ description of the knowledge possessed by Witness No. 2—the witness suggested

by Jane Roe—who, she had told them, would be able to confirm that John Doe had been in

O’Hara Hall on the night in question.

337.      Part 1 included a “Procedural History” which stated that, on November 20, 2017,

Krenztman had “received a report of alleged sexual misconduct, specifically, digital penetration

of the vagina from the Reporting Party.”

338.      On information and belief, the November 20 report from Jane Roe to Krenztman is not

the Memo to File that Krentzman produced on November 21. On information and belief, Jane

Roe’s November 20 report was reduced to writing by Jane Roe, a Stonehill official, or both and

once existed and may still exist in written form and has at all times been in the possession of

Stonehill.     At no time did Stonehill produce Jane Doe’s November 20 report to Krentzman, to

John Doe.

339.      The Procedural History omitted Krentzman’s November 21 meeting with Jane Roe.

340.      The Procedural History identified the dates on which the Title IX Investigators had

interviewed Witness No. 1 and Witness No. 2.              When John Doe saw that the Title IX

Investigators, apparently, Bamford alone, had interviewed Witness No. 1 on December 13, 2017,

he learned for the first time that they had interviewed Witness No. 1. The Procedural History

also stated that Bamford, alone, had interviewed Witness No. 2.

341.      The Procedural History stated that both Title IX Investigators met in person with Jane

Roe on December 28. 2017. The Procedural History characterized this meeting as a “review of

facts.”      This description and Part 1, itself, concealed the fact that the Title IX Investigators’

“review of facts” with Jane Roe was also a second interview in which they confronted Jane Roe
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with John Doe’s contradiction of her description of their pre-incident social and sexual history as

well as his denial of her assertion that she was drunk to the point of incapacitation.

342.   This is the first time, John Doe and Attorney Baldacci understood that a second face to

face meeting had occurred between Jane Roe and the Title IX Investigators.

343.   Part 1 included a section entitled “Findings of Fact” which consisted of four subsections

entitled “Summary of Interviews with Reporting Party;” Summary of Interviews with

Responding Party;” Summary of Interview of Witness #1 Interview,” and “Summary of Witness

#2 Interview.”

344.   The information that comprised the summary of Jane Roe’s interviews came from two

separate interviews. The first interview was held on November 29 and the second interview was

held on December 28. John Doe had no notice of either interview and was not present. As a

result, with one exception, Jane Roe’s “clarification” of her pre-incident sexual intimacy with

John Doe, John Doe is not certain what information set forth in the Jane Doe summary came

from the first interview and what information came from the second interview.

345.   The Part 1 “Summary of Interviews with Reporting Party” made it clear that, as with

Krentzman, the Title IX Investigators had complied with Jane Roe’s desire not to discuss any of

the details of her sexual interaction with John Doe on the night in question.

346.   Although the summary includes Jane Roe’s assertion that she was intoxicated and her

assertion that John Doe, too, had consumed alcoholic beverages, it omitted any description of the

initiation of their sexual interaction, the progress of their sexual interaction, the verbal and

physical indications she gave to John Doe to either not commence or to cease sexual interaction.

347.   After recounting Jane Roe’s version of John Doe’s entry into her dormitory room, the

summary then stated, “”[t]he Reporting Party said that after she began to cry, hyperventilate, and
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pretend to “fall asleep,” the Responding Party left ‘relatively quickly.’” This account seems off

considering Jane Roe’s initial written charge claims she was incapacitated, and is wholly

inconsistent with John Doe’s account. Therefore, the Title IX Investigators had a duty to address

and investigate these inconsistencies further. They did not.

348.   Because the Title IX Investigators had complied with Jane Roe’s desire not to discuss the

details of her sexual interaction with John Doe on the night in question, the only version of the

incident available to them was Krentzman’s Memo to File.           Therefore, they appended the

Krentzman Memo to File to Part 1 as “Attachment 1.”

349.   Part 1 included one statement from Jane Roe that she could not have given in the

November 29 interview but could only have given in the December 28 interview—that is, her

recantation of her assertion that, before the incident of November 19, she and John Doe were

only “surface friends” and had done nothing more than “made out sober twice in [Jane Doe’s]

room.” As set forth in Part 1, Jane Doe’s post-November 29 recantation read as follows: “She

clarified that the previous encounters in her room involved consensual sexual contact, including

digital penetration of her vagina.”

       12.     John Doe and Attorney Baldacci Review of Part 1 Report, Comment,
               Request for Correction and Clarification

350.   After receiving the Part 1 Report, John Doe and Attorney Baldacci reviewed it.

351.   Upon reviewing the Part 1 Report, John Doe and Attorney Baldacci realized that,

although it was not clear when, at some point the Title IX Investigators had conducted a second

interview with Jane Roe, had confronted her with John Doe’s assertion as to the true nature of

their pre-incident social history and their pre-incident sexual intimacy, and that she had recanted

the statement she made to the Title IX Investigators on November 29, 2017, that she and John

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Doe had only been “surface” friends. Jane Roe further recanted her assertion she made in her

written charge, as set forth in the Krentzman Memo to File that, before the incident, she and John

Doe had only “made out twice sober” and admitted that their pre-incident relationship had

progressed to the point where on “previous encounters” they had engaged in the very same level

of sexual intimacy that she had charged in her then-pending complaint.

352.   John Doe and Attorney Baldacci also noted the way in which the Title IX Investigators

had presented Jane Roe’s recantation on these points both obscure it and tacitly justify it as a

“clarification,” rather than a recantation. John Doe and attorney Baldacci not only believed this

was unfair to John Doe, but also believed it could mislead the decision-maker, the AVPSA/Dean

of Students, in weighing John Doe and Jane Roe’s credibility.

353.   As a result, by e-mail dated January 30, 2018 at 1:57 p.m., Attorney Baldacci forwarded

the following request to the Title IX Investigators: “We would like it noted that the Reporting

Party’s clarification of consensual sexual contact occurred only after she was interviewed a

second time. And it substantiates my client’s statement regarding prior sexual contact.”

354.   By email dated January 30, 2018, at 4:34p.m., Investigator Shayla Jordan responded to

Attorney Baldacci stating, “[i]nvestigator Bamford and I have reviewed your request. We have

decided to include this information in our final report that we share with the Dean of Students.”

355.   When John Doe and Attorney Baldacci received Jordan’s assurance, which she made on

behalf of Bamford, too, that the final Part 1 report would clearly explain Jane Roe’s recantation,

they relied on the Title IX Investigators’ promise on this point and did not believe that they

needed to follow up further.

       13.     Title IX Investigators’ Submission of Report with Findings of Fact and
               Recommendation to Kevin Piskadlo, Ph.D., Associate Vice President for
               Student Affairs/Dean of Students.
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356.    As required by the Sexual Misconduct Policy, on or about February 7, 2018, the Title IX

Investigators forwarded their Final Report (“Final Report”) to the AVPSA/Dean of Students,

Kevin S. Piskadlo, Ph.D.       Exhibit A at The Investigation and Disciplinary Process for

Sexual/Gender-Based Misconduct and Interpersonal Violence.

357.    The Sexual Misconduct Policy required that the Final Report “contain factual findings

and a recommendation of responsibility as to the original claim and/or any lesser offense.” Id.

358.    At that time, Piskadlo was the Associate Vice President for Student Affairs/Dean of

Students. Under the Sexual Misconduct Policy, Piskadlo was charged with reviewing the Final

Report and deciding “if the facts gleaned in the investigation do indeed align with the findings

offered by the Investigator.” Ibid.

359.    In the event that Piskadlo found that the “facts gleaned” did in fact “align with the

findings offered,” he was required to “issue a formal decision in the matter, including sanctions.”

Ibid.

360.    The decision that Piskadlo was required to make was described in the Sexual Misconduct

Policy as the “initial outcome” and the Sexual Misconduct Policy required that Piskadlo’s

decision include “the reason for the outcome and the sanction associated with the outcome.”

Ibid.

        14.    Title IX Investigators’ Submission of Final Report to Piskadlo—Failure to
               Change Description of Jane Roe’s Recantation.

361.    The Final Report was composed of Parts 1 and 2.          Part 1 was identical to the draft

version of Part 1 as submitted to and reviewed by John Doe and Attorney Baldacci

362.    The Title IX Investigators did not make the correction that John Doe and Attorney

Baldacci had requested and which the Title IX Investigators promised they would make on Jane
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Roe’s recantation.      As submitted to Piskadlo that portion of Part 1 continued to read, “[Jane

Doe] clarified that previous encounters in her room involved consensual sexual contact,

including digital penetration.”

363.    When the Title IX Investigators submitted the Final Report to Piskadlo, they did not

submit a copy to John Doe. Therefore, the Title IX Investigators knew that John Doe and

Attorney Baldacci would not realize that they had failed to make it clear when and how Jane Roe

had recanted until sometime after Piskadlo had reviewed the Final Report in full and decided

whether John Doe was “responsible,” and what sanction would be imposed.

364.    On information and belief, at all times the Title IX Investigators knew that if Piskadlo

found John Doe “responsible” for the offense of “nonconsensual sexual intercourse,” Piskadlo

would dismiss him from Stonehill and the dismissal and reasons for it would become part of

John Doe’s permanent education record at Stonehill.

       15.     Part 2—Final Report

365.   Part 2 of the Final Report was divided into two broad headings: Credibility Assessment

and Investigative Findings. The Credibility Assessment Section was further divided into a

discussion of “undisputed facts” and “areas of dispute.”

366.    The Title IX Investigators included the following findings as “undisputed facts:”

               A. That John Doe and Jane Roe met in the spring of 2017 through social media

                     before arriving at Stonehill for the Fall Semester 2017;

               B. That before coming to Stonehill, they communicated “primarily through social

                     media;”

               C. That on at least two occasions in the Fall 2017 Semester they were in Jane

                     Roe’s dormitory room;
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     D. That earlier in the semester, on at least two occasions they had engaged in

        consensual sexual activity, including “fingering.”

     E. That the parties had engaged in sexual activity consisting of digital

        stimulation before the incident “was clarified by [Jane Roe] in the review of

        facts;”

     F. That on the early morning of November 19, 2017, Jane Roe sent a message to

       John Doe. John Doe responded by offering to walk Jane Roe back to her

       dormitory room;

     G. That John Doe and Jane Roe did not walk to O’Hara Hall together;

     H. That John Doe knocked on Jane Roe’s door and John Doe entered Jane Roe’s

        room;

     I. The encounter ended when [Jane Roe] began breathing heavily.       [Jane Roe]

        described this as she was crying and hyperventilating while [John Doe]

        described this as ‘she curled in a ball’ and was breathing heavily. [John Doe]

        then left the room.”

     J. That “later in the day [Jane Roe] sent a SnapChat message to [John Doe]

        stating something to the effect of ‘that wasn’t ok’”

     K. That [John Doe] replied with two SnapChat messages.

     L. That “there was no communication or contact between the parties after these

        messages.”

     M. That “[e]arlier Snapchat messages were deleted when [John Doe] blocked

        [Jane Roe] on SnapChat after receiving the ‘no-contact order.’”



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367.   The “areas of dispute” section of Part 2 identified the following areas in which the parties

disagreed:

                A. That, “[John Doe] said that he had not consumed any alcohol on the evening

                    of November 18, 2017 and the early morning of November 19, 2017. [Jane

                    Roe] said that [John Doe] implied that he had been drinking, although she did

                    not notice significant impairment.”

                B. That [Jane Roe] described herself as drunk and a six out of ten, with ten being

                    the most drunk. She said that she does not think she was capable of consent

                    due to her intoxication.   [John Doe] said that he did not think she had been

                    “drinking at all.”

                C. That “[John Doe] said that on three occasions he asked [Jane Roe] if she

                    wanted him to stop (fingering her) and she said nothing and did nothing.”

                    That “[John Doe] said that at no time did [Jane Doe] tell him to stop or say

                    ‘no.’”

                D. That, [Jane Roe] said that she specifically told [John Doe] to stop and pushed

                    him away from her.”

368.    Following its review of the “undisputed facts” and “areas of dispute,” Part 2 addressed

the following points:

             A. Part 2 discussed Jane Roe’s claim that she was incapacitated within the meaning

                of the Sexual Misconduct Policy and concluded that ‘based on Jane Roe and John

                Doe’s statements, Jane Roe was not incapacitated within the meaning of the

                Sexual Misconduct Policy;



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           B. Part 2 described John Doe’s earlier sexual interactions with Jane Roe and reported

              that John Doe had said that on those prior occasions, John Doe had asked Jane

              Roe if she was “ok” with the sexual activity and she had said “yes,” but on this

              occasion, John Doe had asked Jane Roe if she was “ok” and she did not respond

              but, instead, “moaned” and “cried;”

           C. That Jane Roe “had an interaction with Witness 2 later in the morning of the

              incident. When Witness 2 made a comment about seeing [John Doe] at [Jane

              Roe’s] door earlier in the day, [Jane Roe] responded by saying something to the

              effect of ‘it wasn’t ok’.”

              1. That “The comment made by [Jane Roe] to her hall mate soon after the

                  incident supports her statement and belief that the sexual contact was

                  unwanted.”

369.    That [John Doe] sent two Snapchat messages to Jane Roe “because he hoped they would

make [Jane Roe] feel better. He stated that he was not drunk and denied that he did anything

wrong. He reiterated that he sent the messages to make [Jane Roe] feel better.”

              1. Part 2 quoted the two messages and included them at Appendix B.

              2. Part 2 stated that, “The messages sent by [Jane Roe] to [John Doe] after the

                  incident lead the investigators to conclude that [John Doe] knew and

                  understood that the sexual contact was unwanted as well.’

370.    Part 2 quoted portions of the following definitions and standards in the Sexual

Misconduct Policy:

           1. Nonconsensual Sexual Intercourse;

           2. “consent,” including the standard by which “consent” is determined;
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           3. A further “clarification” of “Sexual Misconduct,” expressing a preference for

               “verbal communication” over “non-verbal actions.”

371.   Part 2 stated that, “[Jane Roe] states that she clearly said that she did not want to engage

in sexual activity.”

372.   Part 2 stated that, “[John Doe] indicated that [Jane Roe] did not give verbal consent but,

rather, ‘moaned’ when asked if the sexual activity was ok.” This finding is misleading and

mischaracterized John Doe’s statement because in their past sexual encounters, Jane Roe would

moan when she was experiencing pleasure. It was therefore, reasonable for John Doe to believe

he had Jane Roe’s consent when she rolled over and made her vagina more accessible for digital

stimulation and began moaning.

373.   Part 2 quoted the Sexual Misconduct Policy for the following point: “The Policy also

states that: “[p]revious sexual activity or a current or past intimate relationship between two

people is not the equivalent of consent to future sexual activity.”

374.   Part 2 quoted the Sexual Misconduct Policy for the following point: “[t]he policy states

that an example of behavior that demonstrates a lack of consent and may constitute sexual

assault includes, ‘engaging in sexual activity with someone who had said ‘no’ or has indicated

lack of consent through non-verbal communication.”

375.   Part 2 concluded with a section entitled “Investigative Findings” which, in toto, read as

follows: The Investigators determined that based on a preponderance of the evidence it is more

likely than not that [John Doe] violated Policy S1.14, specifically, non-consensual digital

penetration of the vagina.”

376.   The Final Report by the Title IX Investigators failed to follow the procedures set forth in

the Sexual Misconduct Policy.
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       N.      DECISION OF AVPSA/DEAN OF STUDENTS ON TITLE IX
               INVESTIGATORS    FINDINGS      OF     FACT AND
               RECOMMENDATION/DISMISSAL OF JOHN DOE.


                       1.    Stonehill Notice to John Doe of meeting with AVPSA/Dean of
                       Students, Kevin S. Piskadlo, Ph. D.

377.   On February 8, 2018, John Doe received an e-mail from the office of the AVPSA/Dean

of Students Piskadlo advising him that he must appear in Piskadlo’s office on February 12, 2018.

378.   At no point before the meeting between John Doe and Piskadlo on February 12, 2018, did

Stonehill provide John Doe with a complete copy of the Final Report.

379.   Under the Sexual Misconduct Policy, the Title IX Investigators’ Final Report was

submitted to Piskadlo in his capacity as the AVPSA/Dean of Students.

380.   Piskadlo was charged with “determin[ing] if the facts gleaned in the investigation do

indeed align with the findings offered by the Investigator.”    ExhibitA. The Investigation and

Disciplinary Process for Sexual/Gender-Based Misconduct and Interpersonal Violence.

381.   If the AVSPA/Dean of Students determined that the “facts gleaned” did in fact “align”

with the Investigator’s findings, the AVPSA/Dean of Students was “required to issue a formal

decision in the matter, including sanctions.” Ibid.

382.   On February 12, John Doe met with Piskadlo in Piskadlo’s office.           John Doe and

Attorney Baldacci had arranged for attorney Baldacci to participate in the meeting by telephone.

383.   Piskadlo informed John Doe that he had some “tough news” for him—that the Title IX

Investigators had recommended that John Doe be found “responsible” for violating the

prohibition on “nonconsensual sexual intercourse.”

384.   John Doe was incredulous at the finding and questioned Piskadlo about Jane Roe’s false

assertions to the Title IX Investigators, including her claim that she was intoxicated. Piskadlo
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responded by saying that, although Jane Roe had claimed that she was incapacitated, it was

because she did not understand the meaning of “incapacitation” as used in the Sexual

Misconduct Policy.

385.   Piskadlo’s assertion that Jane Roe had asserted that she was “incapacitated” as opposed

to merely “very drunk” was the first time John Doe had been made aware of this claim.

386.   It was unclear whether the Title IX Investigators had determined that Jane Roe did not

understand the meaning of “incapacitation” or whether he, himself, had made that determination.

387.   When, later, John Doe received the Final Report, including Parts 1 and 2, he found a

discussion of Jane Roe’s claim of incapacitation in Part 2, but there was not a finding anywhere

in the Final Report that, in claiming incapacitation, Jane Roe did not understand the meaning of

the term.

388.   Although Piskadlo made it clear to John Doe that the Title IX Investigators had found

him ‘responsible,’ Piskadlo did not explain why he, himself, had found that John Doe was

responsible.

389.   Piskadlo informed John Doe that Stonehill had only one sanction for the offense of

“nonconsensual sexual intercourse”—immediate dismissal from Stonehill.           Piskadlo made it

clear that dismissal was always imposed irrespective of the severity of the accused student’s

conduct.

390.   Piskadlo made it clear that he had no discretion to impose a lighter sanction.

391.   Piskadlo made it clear that the impact of his dismissal from Stonehill on John Doe’s goal

of furthering his education and obtaining an undergraduate degree was not a factor in Piskadlo’s

imposition of the sanction of dismissal.



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392.   When Piskadlo advised John Doe that the finding of “responsibility” for “nonconsensual

sexual contact” required his immediate dismissal, it was the first time John Doe had ever heard

from any person, including any Stonehill official, that dismissal was imposed on all such cases.

393.   In the course of their meeting, Piskadlo gave John Doe a letter from Piskadlo addressed

to John Doe and dated February 12, 2018, the date of their meeting.

394.   John Doe was unable to read and fully understand the letter during the meeting, as the

trauma of the recommendation and imposition of sanctions, overwhelmed him.

                   2. Dismissal Letter—AVPS/Dean of Students to John Doe/February 12,

                        2018.

395.   Piskadlo’s February 12, 2018 Letter to John Doe (“the Dismissal Letter”) advised John

Doe of the following:

           A. That a Title IX investigation had been conducted of the charge that John Doe had

               violated Stonehill’s Sexual Misconduct Policy;

           B. That Piskadlo had reviewed the Final Report;

           C. That the Final Report included the Title IX Investigators’ had “found that it is

               more likely than not that [Jane Roe] had not consented to sexual penetration and

               that the messages [John Doe] sent indicated that [John Doe] understood that the

               sexual interaction was unwanted as well.”

396.   The Dismissal Letter did not contain any discussion of Piskadlo’s review and

determination of the evidence. In fact, it did not even clearly state that Piskadlo, himself, held an

opinion on the Title IX Investigators’ findings and recommendation of responsibility. Instead,

Piskadlo merely repeated the Title IX Investigators’ findings.



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397.   The Dismissal Letter then informed John Doe that Piskadlo had imposed the following

sanctions:

               A. That Piskadlo was dismissing John Doe from Stonehill. On this sanction the

                   Dismissal Letter stated that, “[a]s a result of this decision, and in keeping with

                   the College’s steadfast commitment to not to (sic) tolerate any form of gender-

                   based misconduct, you are dismissed from the college; and

               B. That John Doe was “not permitted on College property at any time and must

                   fully separate yourself from the Stonehill (sic) and all College activities.”

398.   The Dismissal Letter then advised John Doe of his right to appeal, the standards for

appeal, the deadline for the appeal, and the Stonehill official—the Vice President for Student

Affairs—responsible for adjudicating the appeal.

399.   The Dismissal Letter advised that Jane Roe also could appeal the decision.

400.   The Dismissal Letter reminded John Doe that the No Contact Order remained in effect

and was binding on both parties.

                   3. Stonehill Production of Final Report to John Doe

401.   At no time before or during Piskadlo’s meeting with John Doe on February 12, 2018, did

Piskadlo or any Stonehill official provide John Doe with a copy of the Final Report.

402.   On information and belief, Piskadlo’s decision not to produce the Final Report to John

Doe before meeting with him was based on Piskadlo’s determination to deprive John Doe with

the basis for the Title IX Investigators’ recommendation. On information and belief, Piskadlo’s

decision to withhold the Final Report until after his meeting with John Doe was over was

consistent and compliant with Stonehill policy to this effect.



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403.   On information and belief, Piskadlo also understood that, because he had failed to include

any information in the Dismissal Letter revealing how he, himself, had analyzed the Final Report

and how he, himself, or Stonehill had reached the decision that John Doe must be dismissed,

Piskadlo knew that the Dismissal Letter also would provide John Doe with no basis to question

Piskadlo’s finding of “responsibility” or the sanction Piskadlo imposed.

404.   Later on the morning of February 12, 2018, and after meeting with Piskadlo, Donna

Vrana, Community Standards Administrative Assistant, forwarded the Final Report to John Doe

by E-mail.

       O.      STONEHILL’S CONSIDERATION AND DENIAL OF JOHN DOE’S
               APPEAL.

               1.    Appellate Powers and Responsibilities of the Vice President for
               Student Affairs.

405.   The Vice President for Student Affairs, Pauline Dobrowski, granted John Doe and

Attorney Baldacci additional time within which to file John Doe’s appeal, extending the deadline

to February 26, 2018.

406.   When Attorney Baldacci sought a short additional extension, Dobrowski denied that

request and required that the appeal be filed by close of business on February 26.

407.   On February 26, Attorney Baldacci filed John Doe’s appeal with Dobrowski by e-mail.

408.   On February 27, Attorney Baldacci filed an “Amended Appeal” because he and John Doe

had discovered a factual error in the appeal as filed. Dobrowski accepted the Amended Appeal

and it thereby became the appeal that Dobrowski considered.

409.   In considering John Doe’s appeal, Dobrowski was exercising powers and responsibilities

accorded to her by the “Appeals” section of the Sexual Misconduct Policy.



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410.   Among the powers and responsibilities assigned to Dobrowski was determining whether

investigative, evaluative, adjudicatory, and resolution stages of the Title IX investigation of Jane

Roe’s claim against John Doe had complied with the “process and procedures” set forth in the

Sexual Misconduct Policy.

411.   On information and belief, at all times Dobrowski understood that the burden of proving

the allegations against John Doe did not lie with the parties, but lay with Stonehill, itself.

412.   Among the powers and responsibilities assigned to Dobrowski was assessing new

information that was not known to the parties at the time of the investigation.

       2. Points Raised in John Doe’s Appeal of the Letter of Dismissal and Final Report

413.   In his appeal, John Doe raised the following points about the procedures employed in the

Sexual Misconduct Policy:

               A.      Binding Character of College’s Conduct Code and Adjudicative

                       Procedures

               B.      Appellate Standards

               C.      Sexual and Gender-Based Misconduct Procedures

                    1. Discriminatory Purpose

                    2. Diminished Protections in Sexual Misconduct Proceedings

                    3. The Sexual Misconduct Procedures are Legally Insufficient

               D.      The Investigators’ Investigation and Report

                    1. College Duties and Case-Specific Representations

                    2. Mandatory Requirement to Fully Investigate “Consent”

                    3. Were the Investigators Impartial



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                 4. The Investigation Did Not Meet the College’s Standards or the Promises

                       of Michael LaBella and the Investigators

                 5. The Investigators Failed to Properly Assess the Credibility of the Accuser

                 6. The Investigators Failed to Properly Assess the Accused’s Credibility

                 7. The Final Report did not Clearly Find Whether the Acts in Question

                       Began Without Consent or Were Initially Consented to but Consent was

                       Withdrawn

                 8. Impact of Report Deficiencies on Vice President’s Review

                 9. The Vice President Did Not Conduct the Review Required by the Rules

           E. The Sexual Misconduct Procedures did not Provide Fair Warning That a Finding

           of “Responsible” on a Charge of Nonconsensual Sexual Intercourse Must Lead to

           Expulsion

          F. New Evidence of Facebook Communications Between John Doe and Jane Roe

          Materially Bears on the Nature of Their Pre-incident Relationship and Supports John

          Doe’s Explanations for his Snapchat Messages.

       3. Procedural Defects Apparent to Dobrowski from the Structure and Wording of
          the Final Report

414.   Aside from the points raised in John Doe’s appeal, the following procedural defects

should have been apparent to Dobrowski:

       a. The February 12, 2018 letter does not state that Dr. Piskadlo reviewed and made

           independent determinations as to whether the facts gleaned in the investigation

           aligned with the findings of the Investigators as required by Stonehill’s Investigation




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            and Disciplinary Procedures for Sexual/Gender-Based Misconduct and Interpersonal

            Violence,

        b. Investigators did not advise John Doe that he had any rights with respect to the

            Investigative Report dated January 23, 2018.

        c. Investigators did not conduct an interview of Jane Roe relating to the incident, but

            instead accepted the written version which Jane Roe had submitted to Lily

            Krentzman, the Title IX Director.

        d. Investigators characterized the second interview with Jane Roe as a review of facts

            when in fact it was an initial interview as the Investigators had relied on a reading of

            Jane Roe’s statement in the first meeting.

        e. John Doe never received, nor was he allowed to review, the written statement of

            Jane Roe which was the basis of the Title IX investigation.

        f. There was new evidence which conflicted with Jane Roe’s characterization of her

            pre-incident relationship with John Doe which went to her credibility.

       4. Dobrowski’s Denial of John Doe’s Appeal.

415.   On March 9, John Doe and Attorney Baldacci participated in a conference call with

Dobrowski and Stonehill General Counsel, Thomas Flynn, Esq.

416.   In that telephone conference call, Dobrowski advised that she had reviewed John Doe’s

appeal and had denied it in its entirety.   She advised John Doe that his dismissal was now final

and his separation from Stonehill was immediately in effect.

417.   When Attorney Baldacci asked Dobrowski to explain why she had denied John Doe’s

appeal, Dobrowski, on advice of Flynn, refused Attorney Baldacci’s request.



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418.     Dobrowski’s refusal to explain why she had denied John Doe’s appeal was consistent

with the Title IX Investigators’ failure to provide an explanation of how they had determined

John Doe was responsible, including, what weight they had given Jane Roe’s false statements

about her pre-incident social relationship with John Doe, her pre-incident sexual experiences

with John Doe, and her false claim that, at the time of the November 19 encounter, she was

“incapacitated” within the meaning of the Sexual Misconduct Policy.

419.     Dobrowski’s refusal to explain why she had denied John Doe’s appeal was also

consistent with Piskadlo’s failure to set forth in the Letter of Dismissal “the reason for the

outcome” and the “reason for” imposing the sanction of dismissal.

420.     Dobrowski’s refusal to explain her decision, on advice of Stonehill’s in-house attorney,

was consistent with Stonehill’s determination that the reasons for sanctioning a student on a

charge of sexual misconduct should be obscured and concealed for the purpose of allowing

Stonehill to engage in sex discrimination against male students without establishing a record

sufficiently clear to demonstrate Stonehill’s improper and unlawful motivation.

421.     After the telephone conference call, Dobrowski forwarded a letter dated March 9, 2018 to

John Doe denying his appeal (“Denial Letter”).       The Denial Letter was a form letter that had

been revised to include information particular to the charge against John Doe.

422.     The Denial Letter identified the two appellate standards and advised that John Doe’s

appeal lacked “sufficient reasoning to meet either criteria (sic) for appeal.” The Denial Letter

stated that Dobrowski “determined that the investigators’ process was compliant with our

policy.” Exhibit B. The Denial Letter provided no explanation for Dobrowski’s finding on this

point.



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423.   John Doe’s appeal not only alleged that the Title IX Investigators had failed to comply

with standards and processes in the Sexual Misconduct Policy and the Student Conduct Policy

but that the AVPSA/Dean of Students had also failed to comply with those policies.               The

Denial Letter did not acknowledge this basis for appeal nor rule on it.

424.   The Denial Letter stated that Dobrowski had also rejected John Doe’s assertion that he

had new evidence that should be considered on the question of “responsibility.” The new

evidence provided was Facebook Messenger messages between John Doe and Jane Roe which

showed the existence of a long standing relationship between the two and went to the credibility

of Jane Roe. The Denial Letter did not address the new evidence at all and provided no

explanation for Dobrowski’s finding on this point.

425.   The Denial Letter advised that, with the denial of John Doe’s appeal, the decision on Jane

Roe’s complaint against him was final and that John Doe had been “dismissed from the College”

and that, ‘[a]s such, effective immediately, you are not permitted to be on College property at

any time and must fully separate from Stonehill and all College activities.”

426.   The Denial Letter did not provide any period after which John Doe could return to

Stonehill as a student or even as a visitor. The Denial Letter intended John Doe’s separation

from Stonehill to be a permanent, lifelong separation.

427.   The Denial Letter gave John Doe instructions on how to arrange to return to the campus

and retrieve his belongings without violating the Denial Letter’s terms.

428.   The Denial Letter advised that, although Stonehill had dismissed John Doe with no date

for his possible return to Stonehill either as a student or a visitor, Stonehill retained jurisdiction

over John Doe’s relationship with Jane Roe advising that, “the previously established no contact

with [Jane Roe] remains in effect. This restriction includes, but is not limited to, in person, by
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mail or e-mail, messaging, by phone, through a third party, and/or through any form of social

media.      This is a reciprocal restriction.”

429.     The Denial Letter did not explain how, after dismissing John Doe from Stonehill,

Stonehill’s No Contact Order could continue to bind him.       The Denial Letter also placed no

time or place restrictions on the No Contact Order but, instead, was framed as a perpetual

restriction to which John Doe was required to adhere.

430.     On March 11, 2018 John Doe was allowed onto the Stonehill campus for the purpose of

removing his belongings. He did so, and from that point forward to the present, has been

separated from Stonehill.

         5. Effect of Dobrowski’s Denial of John Doe’s Appeal.

431.     On information and belief, Dobrowski has been trained in the standards and procedures

of the Sexual Misconduct Policy and the Student Conduct Policy.

432.     On information and belief, Dobrowski understood that she was obligated to review all

phases of the investigation, evaluation, adjudication, and resolution of the charge against John

Doe against the standards and processes set forth in the Sexual Misconduct Policy as well as

Title IX.

433.     Dobrowski’s Denial Letter constituted Dobrowski’s ratification and approval of all the

investigation, evaluation, adjudication, and resolution of the charge against John Doe including,

in particular, the actions of the Title IX Investigators and the AVPSA/Dean of Students, on

behalf of Dobrowski, herself, as Vice President of Student Affairs, but on behalf of Stonehill

College, as well.

434.     Dobrowski’s failure to explain in any detail why she was denying any and all of the

grounds raised in John Doe’s appeal was required by, and consistent with, Stonehill’s unstated,
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unpublished policy of obscuring or refusing to state the rationale for its decisions finding male

students responsible for violations of the Sexual Misconduct Policy.

435.    Dobrowski’s failure to explain in any detail why she was denying John Doe’s appeal of

the sanction of dismissal that had been imposed upon him was required by and consistent with

Stonehill’s decision to impose the sanction of permanent dismissal on any student found

responsible for nonconsensual sexual intercourse, but not to provide notice to students either that

this sanction must be imposed in all such cases, regardless of the facts and circumstances, or to

provide any explanation for the uniform application of that sanction.

        6.      Stonehill’s Retention of John Doe’s Tuition for the Spring 2018 Semester.

436.    On March 31, 2018. John Doe petitioned Stonehill for the return of the monies he had

advanced for the Spring 2018 Semester.

437.    Although at all times Stonehill knew that the completion of the Title IX Investigation had

been delayed by the intervention of the Thanksgiving and Christmas-New Year’s holidays, the

latter of which coincided with Stonehill’s mid-year break, and, although at all times, Stonehill

knew that John Doe had to borrow the monies that he advanced to Stonehill for the Spring 2018

Semester, Stonehill denied John Doe’s request and retained and continues to retain the monies

John Doe advanced for the Spring 2018 Semester.

438.    At all times, Stonehill knew that, if John Doe were held “responsible” it would

immediately dismiss John Doe and that it would seek to retain John Doe’s tuition for the Spring

2018 Semester.

439.    Stonehill’s retention of John Doe’s tuition was, therefore, a consequence of Stonehill’s

unstated and unpublished sanction for nonconsensual sexual intercourse which Stonehill viewed

as a violation of Title IX.
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440.    Under the 2017 Q&A, before retaining John Doe’s Spring 2018 Semester monies,

Stonehill was required to consider the impact on John Doe of separating him from his education,

including the ability for John Doe to finance that education.

441.    On information and belief, Stonehill did not consider the impact of retaining John Doe’s

Spring 2018 Semester monies on his education and, Stonehill’s failure to do so was motivated

by, and it is evidence of, its discriminatory intent against John Doe on the grounds that he is a

male.

        P.     STONEHILL’S FACILITATION OF JANE ROE’S DEFAMATION OF
               JOHN DOE

442.    On May 23, 2018, John Doe received a Snapchat message from a female student at

Stonehill whom he had met while a student at Stonehill there who asked if they could talk. John

Doe said that they could talk but he was not available for a telephone call.

443.    The female student then sent him a screenshot of an exchange with Jane Roe that Jane

Roe had initiated which went as follows:

               Jane Roe: “I saw you post a picture with [John Doe] a while ago saying miss you

               love and I wanted to confront you a while ago;

               Female Student: about what?;

               Jane Roe: why he left stonehill;

               Female Student: He said it was money;

               Jane Roe: He raped me and got kicked out.”

444.    The female student forwarded her exchange with Jane Roe with the message, “please tell

me this isn’t true, [John]”. John Doe responded by admitting that Stonehill had dismissed him




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but added that the Stonehill process was “totally unfair” and that he “could not say more about it

right now.”

445.   In response to Jane Roe’s assertion, he told the female student, “I did not rape [Jane].”

446.   By asserting that John Doe had “raped” her when, by her own admission, their sexual

activity had been limited to digital stimulation, Jane Roe was employing a word that is

commonly understood to mean forcible sexual intercourse or sexual intercourse with a person

incapable of giving consent. No one alleged that John Doe had engaged in such conduct with

Jane Roe.

447.   Stonehill had, however, made it possible for Jane Roe to accuse John Doe of having

raped her by having included digital manipulation of the clitoris under the broad heading of

“Nonconsensual Sexual Intercourse” which implies either forcible sexual intercourse or sexual

intercourse with a person incapable of giving consent.

448.   That Stonehill dismissed John Doe, an extreme sanction, supported the foregoing

inference and facilitated Jane Roe’s misleading assertion to the female student.

449.   In addition, under the heading “Related Massachusetts Legal Definitions,” Stonehill

misstated and mischaracterized the Commonwealth of Massachusetts’ definitions of “Sexual

Assault” and “Rape” in the following manner:

            A. Stonehill asserted that the laws of Massachusetts defined “sexual assault” as

               meaning rape when, under the laws of Massachusetts, rape is a form of sexual

               assault, but not all sexual assault is rape.

            B. Stonehill also asserted that the laws of Massachusetts defined rape as “(1) the

               penetration of any orifice by any body part or object; (2) by force and (3) without

               consent.     Rape also includes instances in which the victim is incapacitated
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                  (“wholly insensible so as to be incapable of consenting”) and the perpetrator is

                  aware of the incapacitation.”

           Q.        STATUS OF JOHN DOE’S                   EFFORTS        TO    OBTAIN       AN
                     UNDERGRADUATE DEGREE

450.   Because John Doe was dismissed early in the Spring 2018 Semester, he could not resume

his education at another undergraduate institution for that semester.

451.   John Doe was devastated by his dismissal from Stonehill the impact of which was made

worse by the unfairness and outcome-driven manner in which Stonehill had investigated,

evaluated, adjudicated, and, resolved the charge against him.

452.    John Doe was uncertain whether, with his Stonehill Education Record containing a

finding that he was “responsible” for nonconsensual sexual intercourse, he would be unable to

gain admission to any undergraduate institution.

453.   John Doe trained to become a pharmacy technician, a state-licensed position, and became

employed in that capacity.

454.   In November of 2018, John Doe applied for admission to an undergraduate institution for

the Spring 2019 Semester.

455.   As part of the admissions process, John Doe was required to answer a question that

revealed Stonehill’s action taken against him.

456.   He was also required to appear at the undergraduate institution and answer questions

about the charge against him, Stonehill’s investigation, evaluation, adjudication, and resolution

of that charge.

457.   In order to be eligible to attend any undergraduate classes at the University of Maine,

John Doe is on a “deferred suspension” due to the Stonehill finding and is “under close scrutiny

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and any violation of the UMS Student Conduct Code would likely result in [his] separation”

from the university. John Doe was also required to complete an online sexual harassment and

assault prevention training before being allowed on campus. This process was humiliating and

stressful as it was like reliving the Stonehill experience again.

458.   Stonehill’s unlawful dismissal of John Doe has delayed his completion of his

undergraduate degree by more than a year, caused substantial financial hardship, and has

severely impacted his reputation by making a permanent record of his expulsion from Stonehill.

              COUNT I – VIOLATION OF TITLE IX, 20 U.S.C. § 1681, et seq.


459.   Plaintiff repeats and realleges the foregoing allegations as if more fully set forth herein.

460.   Title IX of the Education Act Amendment of 1972, 20 U.S.C. § 1981, et seq. (“Title

IX”), provides in relevant part that “[n]o person in the United States shall, on the basis of sex, be

excluded from participation in, be denied the benefits of, or be subjected to discrimination under

any education program or activity receiving Federal financial assistance.”

461.   Title IX is enforceable through an implied right of action affording an individual

discriminated against due to his or her gender.

462.   Stonehill receives federal funding in various forms, including, but not limited to, grants

and federal student loans provided to Stonehill by its students or given to Stonehill by the federal

government directly.

463.   Stonehill, through the actions of its agents, has discriminated against John Doe, on the

basis of sex, through discriminatory, gender-biased implementation of Stonehill’s policies and

procedures.




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464.   Title IX “is designed to eliminate... discrimination on the basis of sex in any education

program or activity receiving Federal financial assistance....” 34 C.F.R. §106.1.

465.   In the Student Handbook, Stonehill explicitly holds itself out as governed by Title IX.

466.   A school subject to Title IX is required to “adopt and publish grievance procedures

providing for prompt and equitable resolution of student ... complaints alleging any [prohibited]

action.” 34 C.F.R. § 106.8.

467.   Under Department of Education 2011 guidance, equitable resolution of a student

complaint of sexual misconduct involves a school:

            conducting an “adequate, reliable, and impartial investigation of complaints,”

            providing “the opportunity for both parties to present witnesses and other evidence,”

            maintaining “documentation of all proceedings, which may include written findings

             of facts, transcripts, or audio recordings,”

            determining the outcome on a preponderance of the evidence standard, and

            providing for an appeal.

(See April 4, 2011 Letter from Department of Education Assistant Secretary for Civil Rights (the

“Dear Colleague Letter”)).

468.   In addition, “a school’s investigation and hearing processes cannot be equitable unless

they are impartial [,] [t]herefore, any real or perceived conflict of interest between the factfinder

or decision-maker and the parties should be disclosed.”

469.   Finally, every person involved in implementing the procedures and deciding a complaint

in a sexual violence case “should have adequate training or knowledge regarding sexual

violence.”


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470.   Stonehill’s Sexual Misconduct Policy, its practices related thereto, and its handling of the

complaint of sexual misconduct against John Doe, violate Title IX’s requirements and

recommendations for equitable resolution of student complaints of sexual misconduct.

471.   Rather than undertake a thoughtful implementation of federal guidance for the protection

and support of young women on campus, Stonehill chose to dismantle the rights of young men to

a fair adjudication of the claims against them.

472.   These steps were undertaken with the purpose of protecting Stonehill against the

possibility of complaints of inadequate investigation by young women who had made sexual

misconduct claims to the school.

473.   These steps were intended to and do have the effect of scapegoating those accused of

sexual misconduct, i.e., Stonehill's male students, and as such, are discriminatory on the basis of

sex.

474.   Stonehill’s Sexual Misconduct Policy and its practices related thereto reflect the false,

antiquated notion that, especially in cases where complainant and respondent are students with a

prior history of consensual sexual contact, it is not possible to determine whether sexual

misconduct has actually occurred on the complained-of occasion.

475.   Stonehill's Sexual Misconduct Policy reflects the College's choice, in the face of its

antiquated belief that the "truth" is impossible to determine, to protect itself from accusations of

"inadequate" investigation by ensuring a finding of responsibility on the part of the accused.

476.   An equitable process, including investigation by a party without a vested interest in

protecting the school's interests, a hearing before an impartial adjudicative body, at which both

parties may present witnesses, and the conduct of which is preserved in a record for purposes of

appeal, can and does result in the just adjudication of complaints of sexual misconduct.
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477.      Stonehill’s Sexual Misconduct Policy and practices related thereto are designed to avoid

adjudications of non-responsibility related to complaints of sexual misconduct, whether

adjudications of responsibility for sexual misconduct are merited or not.

478.      Students accused of sexual misconduct at Stonehill, who on information and belief have

invariably been male, have been scapegoated in Stonehill's process for adjudicating sexual

misconduct as part of the Stonehill's self-interested strategy to avoid unwelcome federal scrutiny.

479.      Stonehill’s Sexual Misconduct Policy and practices related to the investigation and

adjudication of complaints of sexual misconduct have a disparate negative impact upon

Stonehill’s male students.

480.      Even assuming arguendo that Stonehill had complied with its policies and procedures,

such rules afford varying rights to women and men because in virtually all cases of alleged

sexual misconduct at Stonehill, the accused student is a male and the accusing student is a

female.

481.      On information and belief, a female student at Stonehill has never been disciplined, much

less expelled, for alleged sexual misconduct.

482.      Stonehill’s policies and procedures have deprived John Doe, on the basis of his sex, of

basic due process and equal protection rights as they deny a student accused of sexual

misconduct the right to confront and/or cross-examine his accuser, or have a hearing in front of a

panel of his peers.

483.      Due to his gender, Stonehill, through its agents, imposed sanctions on John Doe that were

excessively severe.

484.      John Doe, based on his gender, was discriminated against by Stonehill in violation of

Title IX and, as a result, John Doe has been seriously and irreparably damaged.
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485.   As a direct and proximate consequence of Stonehill’s Title IX violations, John Doe has

sustained significant damages including, but not limited to, having an academic and/or

disciplinary record(s) that improperly includes a permanent notation in his Education Record

indicating that he was found to have committed sexual misconduct, harassment, and/or other

related offenses.

486.   This mark on John Doe’s record stigmatizes John Doe as he now has a record that notes

findings of guilt equivalent to a rape conviction for conduct he did not commit.

487.   John Doe was wrongly found to have committed the acts for which he was accused.

488.   The proceeding by which he was found to be responsible for the alleged sexual

misconduct was flawed and fundamentally biased and unfair.

489.   The flawed proceeding led to an adverse and erroneous outcome.

490.   The particular circumstances suggest that gender was a motivating factor behind the

erroneous finding.

491.   In addition, the severity of the discipline imposed upon John Doe was motivated by and

affected by his gender.

492.   As set forth above, the Student Sexual Misconduct Policy is discriminatory on its face.

In addition, the very recent #METOO movement, and the DOE’s pending investigations against

Stonehill, and the publicity related to those investigations, all contributed to the discriminatory

conduct of Stonehill in its, investigation, determination of wrongdoing, and sanctioning of John

Doe.

493.   As a direct and proximate result of Stonehill’s discriminatory conduct, John Doe has

suffered significant damages, including, but not limited to, having academic and/or disciplinary

records that improperly include a notation indicating that he committed sexual misconduct which
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is the equivalent of a rape conviction, attorneys’ fees, costs, and additional damages which are to

be established at trial.

                            COUNT II – BREACH OF CONTRACT

494.    Plaintiff repeats and realleges the foregoing allegations as if more fully set forth herein.

495.    John Doe and Stonehill are parties to an enforceable contract whereby Stonehill has

agreed to provide John Doe with educational services and, conditioned upon John Doe’s

satisfactory completion of his coursework and compliance with Stonehill’s standards for student

conduct, Stonehill has agreed to provide John Doe with the degree he seeks.

496.    Valuable consideration in an amount in excess of $59,000.00 has been paid on behalf of

John Doe to Stonehill, which Stonehill has accepted.

497.    Under the contract, Stonehill has a legal obligation to provide John Doe with a

disciplinary process that meets with John Doe’s reasonable expectations and provides

fundamental fairness.

498.    Furthermore, Stonehill has adopted policies and procedures related to the investigation of

student misconduct, which it is bound by contract, and in fairness, to substantially observe.

499.    Up to this time, John Doe has complied with all academic and non-academic

requirements necessary to achieve a degree from Stonehill.

500.    Stonehill has breached the terms of its contract with John Doe by subjecting John Doe to

the fundamentally unfair and inherently discriminatory policies and procedures of the Sexual

Misconduct Policy, to an incomplete investigation conducted by Investigators who may have had

a conflict of interest due to a prior investigation involving the same accuser, Jane Roe, and to an

unjustified and unwarranted sanction of expulsion from Stonehill without the right of

reinstatement.
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501.   Stonehill’s breach of its duty to abide by its own policies and procedures and/or meet

common standards of due process and provide fundamental fairness, include, but are not limited

to, the following:

          The failure to refer the matter to an external investigator who did not have a conflict

           of interest or bias from a prior investigation with the same accuser.

          The failure of the investigators to follow the procedures set forth in the S1.14 Policy.

          The failure to conduct a complete investigation.

          The failure to consider text messages and additional information.

          The failure to allow John Doe and his attorneys time to submit additional materials.

          The failure to have any hearing on the matter.

          The failure to allow John Doe the opportunity to question and/or cross-examine

           witnesses against him.

          Failure of the Associate Vice President for Student Affairs to analyze and make a

           determination as to the credibility of the allegations against him.

502.   As a direct and proximate result of Stonehill’s breaches, John Doe has suffered

significant damages, including, but not limited to, having academic and/or disciplinary records

that improperly include a notation indicating that he committed sexual misconduct and/or sexual

harassment which is the equivalent of a rape conviction, attorneys’ fees, costs, and additional

damages which are to be established at trial.


                           COUNT III – UNJUST ENRICHMENT


503.   Plaintiff repeats and realleges the foregoing allegations as if more fully set forth herein.


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504.   In the alternative, should this Court find no remedy at law available to John Doe under

Count II, John Doe pleads unjust enrichment.

505.   Stonehill received a substantial monetary benefit in tuition and fees paid on John Doe's

behalf and in anticipation that, if John Doe met all academic and non-academic requirements of

Stonehill, John Doe would be awarded a degree.

506.   The conduct of Stonehill resulted in John Doe's unwarranted expulsion from Stonehill

College.

507.   Under the circumstances, it would be unjust for Stonehill to retain the benefits, in the

form of tuition and fees, which were paid on John Doe's behalf in anticipation of Stonehill's fair

and equitable treatment of John Doe as a student of Stonehill.


                          COUNT IV – PROMISSORY ESTOPPEL


508.   Plaintiff repeats and realleges the foregoing allegations as if fully set forth herein.

509.   John Doe asserts that Stonehill’s Student Handbook and other representations are binding

contracts and that Stonehill has materially breached multiple provisions therein relating to the

sexual misconduct proceedings in this case.

510.   However, in the event the Court were to find that no such contracts exist, Stonehill,

through, but not limited to, its statements, regulations, standards, procedures and policies, made

representations to John Doe, independent of any express contractual promises, that Stonehill

expected or should have expected would induce John Doe to apply to and enroll in Stonehill.

511.   Stonehill expected or should have expected John Doe to accept its offer of admission and

incur the tuition, fees and costs necessary for enrollment based on Stonehill's statements,

regulations, standards, procedures and policies.
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512.   John Doe relied on Stonehill’s express and implied promises that he would not be

discriminated against by Stonehill and would be afforded the rights set forth in the Student

Handbook and other representations set forth above.

513.   John Doe justifiably relied on Stonehill’s express and implied promises to his detriment,

as Stonehill failed to adhere to its statements, regulations, standards, procedures and policies and

did, in fact, discriminate against him by failing to provide him with the rights set forth in the

Student Handbook and other representations.

514.   As a direct, proximate and foreseeable consequence of this conduct, John Doe has

sustained significant damages including, but not limited to, possessing an academic and/or

disciplinary record(s) that improperly includes a notation indicating that he was found to have

committed sexual misconduct, harassment and/or other related offenses, and expelled from

Stonehill. Such notation in John Doe’s academic record is the equivalent of a rape conviction.

515.   This mark on John Doe's record inhibits or destroys his ability to enroll in a similarly

ranked college or university. In addition, this finding stigmatizes John Doe with a record that

notes findings of guilt from conduct he did not commit. John Doe has also suffered monetary

damages, emotional distress, loss of education opportunities, and other direct and consequential

damages.


                                  COUNT V – NEGLIGENCE


516.   Plaintiff repeats and realleges the foregoing allegations as if fully set forth herein.

517.   John Doe asserts Stonehill owed duties of care to John Doe independent of any

contractual duties, including, but not limited to:

       (a)      To ensure that its policies and procedures concerning sexual misconduct are
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fundamentally fair and reasonable;
       (b)      To ensure that its policies and procedures concerning sexual misconduct are
compliant with applicable federal/state law, namely, but not limited to, Title IX;
       (c)      To adequately train its administration, staff, employees, representatives, agents,
investigators, and attorneys of such policies and procedures concerning sexual misconduct; and
       (d)      To ensure that its administration, staff, employees, representatives, agents,
investigators, and attorneys adhere to such policies and procedures.
518.   Based on the above-described facts and conduct, Stonehill breached its duties of care

owed to John Doe.

519.   As a direct, proximate and readily foreseeable consequence of Stonehill’s conduct, John

Doe has sustained significant damages, including, but not limited to, possessing an academic

and/or disciplinary record(s) that improperly includes a notation indicating that he was found to

have committed sexual misconduct, harassment and/or other related offense.

520.   This mark on John Doe's record inhibits or destroys his ability to enroll in a similarly

ranked college or university and stigmatizes John Does regarding future higher education and

employment activities as he maintains a college record which notes findings of guilt for conduct

he did not commit. John Doe has also suffered monetary damages, emotional distress, loss of

education opportunities, and other direct and consequential damages.

                                 COUNT VI – DEFAMATION

521.   Plaintiff repeats and realleges the foregoing allegations as if more fully set forth herein.

522.   By and through its agents, including, but not limited to, Krentzmann, Bamford, Jordan,

Labula, Piskadlo and Dubrowski, Stonehill made false and defamatory statements regarding John

Doe in the Final Report dated February 9, 2018.

523.   Stonehill published these false and defamatory statements by making them to numerous

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third parties, including, but not limited to, members of the staff and faculty of Stonehill and Jane

Roe.

524.      At the time Stonehill made these false and defamatory statements, it knew, or should

have known that its’ defamatory statements were false.

525.      In particular, in a telephone conference with Stonehill’s General Counsel, John Doe’s

attorney informed Stonehill that if the Investigator issued a report holding John Doe responsible

for sexual misconduct, then Stonehill would have issued a false report.

526.      Also, in this telephone conversation, John Doe’s attorney informed Stonehill’s General

Counsel that Stonehill must carefully review the history between Jane Roe and John Doe,

including the text and Snapchat messages, before concluding its investigation and issuing its

report.

527.      Furthermore, on or about January 30, 2018, John Doe’s attorneys sent a letter to

Stonehill’s General Counsel and its Investigator, which expressly set forth numerous

inadequacies of the investigation and issues that needed additional information and investigation.

528.      In reckless disregard of these warnings, on February 12, 2018, Stonehill published the

Report, which contained numerous false and defamatory statements, including, but not limited

to, that John Doe had engaged in sexual harassment and non-consensual sexual contact.

529.      On February 26, 2018, John Doe’s attorneys provided almost 300 pages of materials

which established that the Report’s statements about John Doe were false.

530.      In reckless disregard of this additional information, Stonehill, through its agents,

published the March 9, 2018, denial of appeal letter that contained numerous false and

defamatory statements about John Doe, including, but not limited, to that John Doe had engaged


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in sexual harassment and nonconsensual sexual contact.

531.   Stonehill, through its agents, made the false and defamatory statements with reckless

disregard for the truth and with an improper purpose and such statements were unprivileged.

532.   Stonehill, through its agents, acted with express malice or they were reckless with their

disregard for the truth such that malice is implied.

533.   John Doe has further been compelled to self-publish this false and defamatory

adjudication as part of his application to complete his studies at another college.

534.   As a result of the publication of these false and defamatory statements, including the

College's initial publications and John Doe's subsequent compelled self-publication, John Doe

has suffered damages, including, but not limited to, harm to his reputation, mental suffering,

humiliation, embarrassment and loss of social standing in the community, and attorney’s fees to

correct the false and defamatory statements.

                                 COUNT VII - FALSE LIGHT

535.   Plaintiff repeats and realleges the foregoing allegations as if more fully set forth herein.

536.   Stonehill's unnecessary and punitive sanctions are communicative conduct that falsely

publicized to the campus at large that John Doe was responsible for severe misconduct when he

was not.

537.    As a result, of Stonehill’s conduct, John Doe suffered damages, including, but not

limited to, harm to his reputation, mental suffering, humiliation, isolation, embarrassment and

loss of social standing in the community, and attorney’s fees to correct the false and defamatory

statements.




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           COUNT VIII – VIOLATION OF UNFAIR TRADE PRACTICES ACT

538.   John Doe repeats and realleges the foregoing allegations as if more fully set forth herein.

539.   At all relevant times, Stonehill offers for sale and sells education services to students in

Massachusetts and around the nation.

540.   In connection with the sale of educational services, Stonehill made numerous

representations to John Doe and other students, including, but not limited to the following:

          That Stonehill would adopt a fair and impartial disciplinary proceeding that would

           meet the common standard of fair play and be fundamentally fair.

          The Stonehill would refer its sexual misconduct proceedings to trained Title IX

           investigator(s).

          That Stonehill’s Investigator would not have a conflict of interest in the investigation.

          That Stonehill would communicate with parents when their student faced disciplinary

           proceedings.

          That Stonehill would not engage in discriminatory practices based on gender against

           male students.

541.   The representations of Stonehill were false, and Stonehill knowingly maintained these

false representations with the intent to increase its sales to families of college-aged students.

542.   The Stonehill’s false representations and its conduct in the disciplinary process with

respect to John Doe constitute unfair trade practices under the Massachusetts Unfair Trade

Practices Act, M.G. Law 93A§ 1, et seq.

543.   Pursuant to M.G. Law 93A§ 9, John Doe purchased educational services from Stonehill

primarily for personal, family, and/or household purposes.


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544.    As a result of Stonehill’s conduct, John Doe has suffered the loss of money as a result of

such unfair and deceptive practices, including, but not limited to, the loss of tuition and other

payments, attorneys’ fees and expenses.

545.    As a direct and proximate result of Stonehill’s conduct in violation of the Massachusetts

Unfair Trade Practices Act, 93A§ 1, et seq., John Doe has suffered damages in the amount to be

established at trial.

                                      COUNT IX – FRAUD

546.    Plaintiff repeats and realleges the foregoing allegations as if more fully set forth herein.

547.    Stonehill’s representations to John Doe and his family set forth above were false and

were made to induce John Doe to attend Stonehill and to make over $56,000 in tuition and other

payments to Stonehill.

548.    John Doe justifiably relied on Stonehill’s representations to his detriment and has

attended Stonehill College since September 2017 and paid over $56,000 to Stonehill.

549.    Stonehill’s false representations were made either knowingly or with reckless disregard

for their truth or falsity.

550.    Stonehill’s conduct was motivated by actual ill will or was so outrageous that malice is

implied.

551.    As a result, John Doe has been damaged in amount to be established at trial.



           COUNT X – NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

552.    Plaintiff repeats and realleges the foregoing allegations as if more fully set forth herein.




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553.    Stonehill owed duties of care to John Doe. Such duties included, without limitation, a

duty of reasonable care in conducting the investigation of the allegations against him in a fair,

impartial and equitable manner.

554.    Stonehill breached its duties owed to John Doe.

555.    Such breach by Stonehill created an unreasonable risk of causing John Doe emotional

distress in that John Doe’s academic and disciplinary record is irrevocably and irreversibly

tarnished.

556.    As a direct and foreseeable consequence of Stonehill’s actions, John Doe sustained

tremendous damages, including, without limitation, severe emotional distress, loss of educational

and career opportunities, economic injuries, and other direct and consequential damages.

557.    The emotional distress was severe enough that it has resulted in illness and/or mental

harm to John Doe, namely, John Doe has suffered from insomnia, depression and anxiety since

the commencement of the subject investigation.

558.    Stonehill’s extreme and outrageous conduct was the cause of John Doe’s distress. As a

result of the foregoing, John Doe is entitled to recover damages in an amount to be determined at

trial, plus interest, attorneys’ fees, expenses and costs.


   COUNT XI – BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING


559.    Plaintiff repeats and realleges the foregoing allegations as if more fully set forth herein.

560.    Based upon the aforementioned facts and circumstances, Stonehill College breached and

violated a covenant of good faith and fair dealing implied in the agreement(s) with John Doe by

meting out a disproportionate sanction of expulsion, notwithstanding the lack of evidence in

support of Jane Roe’s allegations of non-consensual sexual activity.
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561.   As a result and foreseeable consequence of these breaches, John Doe sustained

tremendous damages, including, without limitation, emotional distress, loss of educational and

career opportunities, economic injuries and other direct and consequential damages.

562.   John Doe is entitled to recover damages for Stonehill’s breach of the express and implied

contractual obligations described herein.

563.   As a result of the foregoing, John Doe is entitled to recover damages in an amount to be

determined at trial, plus interest, attorneys’ fees, expenses and costs.


           COUNT XII – BREACH OF COMMON LAW DUTY OF FAIRNESS


564.   Plaintiff repeats and realleges the foregoing allegations as if more fully set forth herein.

565.   In addition to the breaches of Stonehill’s explicit policies and procedures, Stonehill had a

duty to provide fairness in disciplinary proceeding both by its own policies, and those imposed

by Massachusetts law.

566.   John Doe relied on, and had an expectation, that the disciplinary process would be

conducted in a fair manner.

567.   Stonehill violated its duty of fairness.

568.   As a result of Stonehill’s breach of its duty of fairness in the disciplinary proceeding,

John Doe has suffered damages to be determined at trial.


                        COUNT XIII – DECLARATORY JUDGMENT


569.   Plaintiff repeats and realleges the foregoing allegations as if more fully set forth herein.




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570.   Stonehill has committed numerous violations of the Parties’ contracts and of state and

federal law.

571.   John Doe’s education and future career have been severely and irreparably harmed.

Without appropriate redress, the unfair outcome of the finding and the expulsion sanction will

continue to cause irreparable and irreversible damages to John Doe’s educational career and

future employment opportunities for the rest of his life.

572.   As a result of the foregoing, there exists a justiciable controversy between the Parties

with respect to the outcome, permanency, and future handling of John Doe’s formal student

record at Stonehill.

573.   By reason of the foregoing, John Doe requests, pursuant to 28 U.S.C. §2201, a

declaration that (i) Stonehill College’s sexual misconduct investigation of John Doe violated his

contractual rights and his due process and equal protection rights; (ii) Stonehill College’s finding

of responsibility was illegal, null and void; and (iii) Stonehill College’s current rules, regulations

and procedures are illegal in violation of Title IX, 20 U.S.C. § 1681, et seq.


                         COUNT XIV – PERMANENT INJUNCTION


574.   Plaintiff repeats and realleges the foregoing allegations as if more fully set forth herein.

575.   By virtue of Stonehill’s violation of his contractual, due process and equal protection

rights, John Doe has suffered irreparable harm for which money damages are wholly inadequate.

576.   The balance of any hardships weighs in favor of John Doe and against Stonehill.

577.   The public would not be disserved by the granting of a permanent injunction.

578.   To address that harm, John Doe is entitled to injunctive relief from this Court compelling

Stonehill College to (i) vacate the finding of responsibility by the Vice President and Dean of
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Students, Dr. Piskadlo, on February 12, 2018, as well as the denial of appeal issued on March 9,

2018; (ii) expunge all negative references contained in John Doe’s scholastic and disciplinary

record; (iii) remove all references of John Doe’s expulsion from his scholastic and disciplinary

record and replace it with the term “voluntary withdrawal;” and (iv) destroy any and all record of

the investigation that gave rise to the illegal finding of responsibility.

                                COUNT XV - ATTORNEY FEES

579.    Plaintiff repeats and realleges the foregoing allegations as if more fully set forth herein.

580.    In accordance with 42 U.S.C. 1988(b), John Doe is entitled to recover attorney fees and

costs upon prevailing in his Title IX claims as set forth above.

581.    In addition, John Doe is entitled to attorney fees and costs under the Massachusetts

Unfair Trade Practices Act, 93A§ 1, et seq.

        Wherefore, John Doe prays this Court enter judgment in his favor and against Defendant

Stonehill College on each of his claims for relief as set forth herein, along with attorney fees’

interest, costs, and any other relief this Court deems just and proper.




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Dated this 9th day of March, 2020.

                                     Respectfully submitted,

                                     Seth W. Brewster
                                     __________________________________
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                                     ATTORNEYS FOR JOHN DOE

JURY TRIAL DEMANDED




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